Case 09-10138-MFW   Doc 17958-9   Filed 02/24/17   Page 1 of 102




                    Exhibit A-2
                   Case 09-10138-MFW     Doc 17958-9    Filed 02/24/17   Page 2 of 102




                         LAW DEBENTURE TRUST COMPANY OF NEW YORK —
                         NORTEL NETWORKS INC. ET AL. CCAA PROCEEDINGS

                            Compendium of Borden Ladner Gervais LLP Accounts

                                 October 2012 to October 2016 (Canadian $)

Tab       Billing Period           Account Date and        Fees       Disbursements      Total
                                       Invoice #

1.    October 1, 2012 to        March 31, 2013           $36,590.50           $624.10     $37,214.00
      March 31, 2013            696970802

2.    April 1, 2013 to          August 14, 2013          $23,106.00           $236.40     $23,342.40
      July 31, 2013             697007189

3.    August 1, 2013 to         July 22, 2014           $196,538.00           $978.40    $197,516.40
      June 30, 2014             697119510
4.    July 1, 2014 to August    October 3, 2014         $141,114.50          $2,784.85   $143,899.35
      31, 2014                  697141690

5.    September 1, 2014 to      November 26, 2014       $100,291.00           $616.50    $100,907.50
      October 31, 2014          697159315

6.    November 1, 2014 to       December 17, 2014        $10,774.00           $150.65     $10,924.65
      November 30, 2014         697169093

7.    December 1, 2014 to       December 31, 2014         $9,024.00            $40.74      $9,064.74
      December 31, 2014         697177890

8.    January 1, 2015 to        February 23, 2015         $4,793.00            $69.20      $4,862.20
      January 31, 2015          697193344

9.    February 1, 2015 to       March 26, 2015           $24,450.00            $94.80     $25,544.80
      February 28, 2015         697202643

10.   March 1, 2015 to          April 27, 2015           $24,828.50          $1,149.02    $25,977.52
      March 31, 2015            697212648

11.   April 1, 2015 to          June 26, 2015            $53,010.00          $1,327.80    $54,337.80
      May 31, 2015              697231479

12.   June 1, 2015 to           August 21, 2015          $45,955.00           $663.00     $46,618.00
      July 31, 2015             697248528

13.   August 1, 2015 to        December 31, 2015          $7,410.00           $120.00      $7,530.00
      December 31, 2015        697300016



       9951374.1
                   Case 09-10138-MFW    Doc 17958-9     Filed 02/24/17   Page 3 of 102




Tab       Billing Period         Account Date and         Fees       Disbursements       Total
                                     Invoice #

14.   January 1, 2016 to      July 18, 2016              $4,365.00         $102.90         $4,467.90
      June 30, 2016           697360673
15.   July 1, 2016 to         August 12, 2016            $1,164.00             NIL         $1,164.00
      July 31, 2016           697368695
16.   August 1, 2016 to       September 7, 2016               NIL              NIL               NIL
      August 31, 2016         697374704

                    TOTALS (CANADIAN DOLLARS):         $683,413.50        $8,958.36      $692,371.86



       Additional Accounts

Tab     Billing Period       Account Date and          Fees          Disbursements       Total
                                 Invoice #

17.   April 1, 2012 to     September 7, 2012        $13,298.00 USD          $38.82        $13,336.82
      August 31, 2012      670250
18.   July 1, 2016 to      August 12, 2016               $4,260.00          $35.10         $4,853.46
      July 31, 2016        697368695




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           Case 09-10138-MFW              Doc 17958-9        Filed 02/24/17        Page 4 of 102




                                                                                          Borden Ladner Gervais LLP

   B L.G
Borden Ladner Gervais
                                                                                 Lawyers Patent & Trade-mark Agents
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Law Debenture Trust Company of New York
400 Madison Avenue
New York, NY 10017                                                                               March 31, 2013
USA
                                                                                          Invoice # 696970802
Attention: Mr. James D. Heaney                                                                          Page 1
           Managing Director


Re: Nortel Networks Capital Corporation 7.875% 2026 Bonds                            File No: 030185/000001

PROFESSIONAL SERVICES rendered to March 31, 2013 in connection with the above matter as
described in the attached.

Fees                                                                                                 $ 36,590.50
Disbursements                                                                                             624.10

Total this Invoice                                                                   CAD            $ 37,214.60


If Paid in US Dollars                                                                 USD            $ 37,685.67


                                                   THIS IS OUR ACCOUNT - E. & O.E.

                                                   BORDEN LADNER GERVAIS LLP




                                                        Edmond F.B. Lamek




                                                PAYABLE ON RECEIPT
              INTEREST AT THE RATE OF 13% PER ANNUM MAY BE CHARGED ON ACCOUNTS WHICH ARE OVERDUE
                            GST/HST REGISTRATION # R869096974RT0001
          Case 09-10138-MFW               Doc 17958-9         Filed 02/24/17       Page 5 of 102



                                                                                           Borden Ladner Gervais LLP

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                                                                                              March 31, 2013
                                                                                         Invoice # 696970802
Law Debenture Trust Company of New York                                              File No: 030185/000001
Re: Nortel Networks Capital Corporation 7.875% 2026 Bonds                                              Page 2

PROFESSIONAL SERVICES RENDERED to March 31, 2013

Oct 9, 2012      E.F.B. Lamek                0.50 Telephone call with Dan Lowenthal regarding amended
                                                   Proofs of Claim and process for filing same in the
                                                   CCAA proceedings.
Oct 24, 2012     E.F.B. Lamek                1.80 Reviewing original proofs of claim and Lowenthal
                                                   drafts of amendments; email to Dan Lowenthal re same.
Dec 5, 2012      E.F.B. Lamek                0.40 Call with Dan Lowenthal regarding Nortel mediation
                                                   Jan 14 et seq.
Jan 10, 2013     E.F.B. Lamek                1.70 Reviewing and commenting on amendments to Law
                                                   Debenture PoC; reviewing CAA Claims Procedure
                                                   materials; exchange of emails with Dan Lowenthal.
Jan 14, 2013     E.F.B. Lamck                4.00 Attend day one of Nortel Mediation; follow up emails
                                                   with Dan Lowenthal.
Jan 15, 2013     E.F.B. Lamek                1.50 Email exchanges with Shayne Kukulowicz for UCC
                                                   regarding EMEA strategy; emails with Dan Lowenthal
                                                   re update on day 2 of Nortel mediation.
Jan 16, 2013     E.F.B. Lamek                0.50 Email exchanges with Dan Lowenthal regarding update
                                                   on Nortel mediation.
Jan 17, 2013     E.F.B. Lamek                0.50 Email exchanges with Dan Lowenthal regarding update
                                                   on Nortel Mediation.
Jan 18, 2013     E.F.B. Lamek                0.50 Email exchanges with Dan Lowenthal regarding update
                                                   on Nortel Mediation.
Feb 6, 2013      E.F.B. Lamek                1.20 Email exchanges and call with Dan Lowenthal; email
                                                   exchanges with Fraser Milner regarding list of
                                                   outstanding issues.
Feb 7, 2013      E.F.B. Lamek                2.00 Draft letter to Mr. Justice Morawetz; email exchanges
                                                   with Dan Lowenthal and Craig Dent regarding timing
                                                   issues.
Feb 8, 2013      E.F.B. Lamek                3.00 Working on Canadian materials for filing statement of
                                                   outstanding issues; related discussions with Craig Dent
                                                   and Scott Lemke; emails to Mr. Justice Morawetz
                                                   submitting list of outstanding issues.
Feb 8, 2013      S. Lemke                    1.80 Received instructions from Edmond Lamek; reviewed
                                                   emails from American legal counsel; completed
                                                   affidavit of service and package to be filed with the
                                                   commercial court.
Feb 11, 2013     E.F.B. Lamek                0.70 Serving and filing statement of outstanding issues.
                                                  PAYABLE ON RECEIPT
               INTEREST AT THE RATE OF I3% PER ANNUM MAY BE CHARGED ON ACCOUNTS WHICH ARE OVERDUE
                             GST/HST REGISTRATION # R869096974RT0001
          Case 09-10138-MFW                Doc 17958-9        Filed 02/24/17        Page 6 of 102




                                                                                            Borden Ladner Gervais LLP

   BL.G
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                                                                                                March 31, 2013
                                                                                           Invoice # 696970802
Law Debenture Trust Company of New York                                                File No: 030185/000001
Re: Nortel Networks Capital Corporation 7.875% 2026 Bonds                                                Page 3

Feb 14, 2013 E.F.B. Lamek                     0.40 Email exchange with Dan Lowenthal regarding
                                                    Scheduling Orders.
Feb 28, 2013 E.F.B. Lamek                     1.50 Email exchanges and conference call with Dan
                                                    Lowenthal and Craig Dent regarding current status of
                                                    proposal to have indenture trustees added as core parties
                                                    to allocation motion; various follow up emails with J.
                                                    Szumski.
Feb 28, 2013     J. Szumski                   0.60 Prepared for and attended on a call with Daniel
                                                    Lowenthal and Edmond Lamek concerning proceeding
                                                    to fix core parties in the allocation negotiation.
Mar 1, 2013      E.F.B. Lamek                 0.40 Exchange of emails with Daniel Lowenthal and James
                                                    Szumski regarding materials to be filed in Canada and
                                                    the US on March 4.
Mar 1, 2013      J. Szumski                   0.80 Reviewed emails and draft statement of law prepared by
                                                    Daniel Lowenthal; email to Edmond Lamek re same.
Mar 2, 2013      J. Szumski                   1.50 Research on standing in Canadian CCAA proceedings in
                                                    connection with motion to have Law Debenture Trust
                                                    Company of New York added to the Nortel allocation
                                                    protocol as a core party.
Mar 3, 2013      J. Szumski                   1.30 Reviewed background material on the Nortel
                                                    proceeding, the allocation protocol and the issue of core
                                                    parties; reviewed the revised statement of law prepared
                                                    by Daniel Lowenthal; email from Dan concerning status
                                                    of Canadian submissions; prepared a framework for
                                                    Canadian submissions.
Mar 4, 2013      E.F.B. Lamek                 4.50 Working on submissions to Ontario Court regarding
                                                    Core Parties; emails and calls with Patterson Belknap
                                                    regarding same; call with Sheryl Siegel of McMillan
                                                    regarding BNY submissions.




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               INTEREST AT THE RATE OF I.3% PER ANNUM MAY BE CHARGED ON ACCOUNTS WHICH ARE OVERDUE
                              GST/HST REGISTRATION # R869096974RT0001
          Case 09-10138-MFW               Doc 17958-9         Filed 02/24/17       Page 7 of 102




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                                                                                               March 31, 2013
                                                                                          Invoice # 696970802
Law Debenture Trust Company of New York                                               File No: 030185/000001
Re: Norte! Networks Capital Corporation 7.875% 2026 Bonds                                               Page 4

Mar 4, 2013     J. Szumski                   6.10 Research in connection with standing of parties in
                                                   Canadian CCAA proceedings; emails with Edmond
                                                   Lamek concerning factum of other noteholder trustee;
                                                   reviewed same; reviewed further revised US statement
                                                   of law; prepared a factum addressing status of Law
                                                   Debenture Trust Company of New York as a core party
                                                   in the allocation protocol; meeting with Edmond Lamek
                                                   to receive comments re same; prepared a Notice of
                                                   Appearance for Law Debenture Trust Company of New
                                                   York; exchanged emails with Daniel Lowenthal and
                                                   Craig Dent re comments on the Canadian factum;
                                                   revised factum to take into account comments received;
                                                   further emails and revisions; finalized factum; served
                                                   Notice of Appearance and factum on the service list;
                                                   prepared an affidavit of service; arranged to file
                                                   materials with the Court office.
Mar 5, 2013     E.F.B. Lamek                 1.00 Engaged conference call with Daniel Lowenthal and
                                                   Brian Guiney; reviewing parties' supplementary
                                                   submissions to the courts.
Mar 5, 2013     L. White                     0.30 Attended at the Commercial Court to pay for a Notice of
                                                   Appearance.
Mar 6, 2013     E.F.B. Lamek                 1.90 Reading additional submissions, the IFSA, Cross Border
                                                   Protocol, proposed US Allocation Protocol and other
                                                   background documents; update emails with Daniel
                                                   Lowenthal and Brian Guiney.
Mar 7, 2013     E.F.B. Lamek                 5.50 Attend joint hearing before Mr. Justice Morawetz and
                                                   Judge Gross regarding allocation protocol.
Mar 8, 2013     E.F.B. Lamek                 0.70 Telephone attendance to receive Judge's reasons on
                                                   Allocation Protocol motion; follow up emails with
                                                   Patterson Belknap and Heenan Blaikie.
Mar 12, 2013 E.F.B. Lamek                    0.50 Monitor core party correspondence; email with Daniel
                                                   Lowenthal.
Mar 12, 2013 J. Szumski                      0.20 Reviewed endorsement of the Canadian Court in
                                                   connection with the core-party application.
Mar 19, 2013 E.F.B. Lamek                    0.40 Reviewing latest correspondence from lawyers for
                                                   Monitor and PCUK.



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              INTEREST AT THE RATE OF I.3% PER ANNUM MAY BE CHARGED ON ACCOUNTS WHICH ARE OVERDUE
                             GST/HST REGISTRATION # R869096974RT0001
           Case 09-10138-MFW              Doc 17958-9        Filed 02/24/17        Page 8 of 102




                                                                                           Borden Ladner Gervais LLP

    3LG
Borden Ladner Gervais
                                                                                 Lawyers I Patent & Trade-mark Agents
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                                                                                              March 3I, 2013
                                                                                         Invoice # 696970802
Law Debenture Trust Company of New York                                              File No: 030185/000001
Re: Norte! Networks Capital Corporation 7.875% 2026 Bonds                                              Page 5

Mar 19, 2013 J. Szumski                      0.40 Reviewed a letter from the UK Pension Administrator
                                                   concerning the proposed schedule for the allocation
                                                   protocol and valuing their proof of claim.
Mar 20, 2013 E.F.B. Lamek                    0.30 Reviewing US Debtors' correspondence regarding
                                                   Litigation timetable.


                          TO OUR FEES                                                                 $ 36,590.50




DISBURSEMENTS:


Non-Taxable
              Binding Charges                                                       $7.00
              Copies                                                               515.10
              Notice of Appearance & Intent                                        102.00

Total Non-Taxable Disbursements                                                    624.10


Total Disbursements                                                                                          624.10


Total Fees and Disbursements                                                                            37,214.60


TOTAL THIS INVOICE                                                                    CAD            S 37,214.60

If Paid in US Dollars                                                                 USD            $ 37,685.67




                                                 PAYABLE ON RECEIPT
              INTEREST AT THE RATE OF 1.3% PER ANNUM MAY BE CHARGED ON ACCOUNTS WHICH ARE OVERDUE
                            GST/HST REGISTRATION # R869096974RT0001
           Case 09-10138-MFW              Doc 17958-9         Filed 02/24/17       Page 9 of 102




                                                                                           Borden Ladner Gervais LLP

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Law Debenture Trust Company of New York
400 Madison Avenue
New York, NY 10017                                                                             March 31, 2013
USA                                                                                       Invoice # 696970802
                                                                                                  EFBL/EFBL



Re: Nortel Networks Capital Corporation 7.875% 2026 Bonds                              File No: 030185/000001

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Fees                                                                                                 $ 36,590.50
Disbursements                                                                                             624.10

Total this Invoice                                                                    CAD            $ 37,214.60


If Paid in US Dollars                                                                 USD            $ 37,685.67

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              INTEREST AT THE RATE OF 1.3% PER ANNUM MAY BE CHARGED ON ACCOUNTS WHICH ARE OVERDUE
                            GST/HST REGISTRATION # R869096974RT0001
         Case 09-10138-MFW             Doc 17958-9         Filed 02/24/17        Page 10 of 102




                                                                                         Borden Ladner Gervais LLP

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                                                                                                             blg.com




Law Debenture Trust Company of New York
400 Madison Avenue
New York, NY 10017                                                                           March 31, 2013
USA                                                                                     Invoice # 696970802
                                                                                                EFBL/EFBL


 Alternatively, payment may be wired or electronic fund transferred (EFT) to:The Bank of Nova Scotia
                                 Toronto Business Support Centre
                                  20 Queen Street West, 41h Floor
                                          Toronto, Ontario
                                              M5H 3R3

                                           Bank #: 002
                                      Bank Transit #: 47696
                                    Swift Code: NOSCCATT
                         General Canadian Fund Account#: 80002 14221 11
                              U.S. Fund Account #: 80002 51181 15
                                     ABA number 026002532

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                                       ReceintsTOR(&,b1g.com
                        Contact: Accounts Receivable Toronto (416) 367-6703
                        Please include our invoice number(s) with all payments




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            INTEREST AT THE RATE OF 1.3% PER ANNUM MAY BE CHARGED ON ACCOUNTS WHICH ARE OVERDUE
                          GST/HST REGISTRATION # R869096974RT0001
           Case 09-10138-MFW             Doc 17958-9         Filed 02/24/17       Page 11 of 102



                                                                                          Borden Ladner Gervais LLP

    BLG Ladner Gervais
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Law Debenture Trust Company of New York
400 Madison Avenue
New York, NY 10017                                                                             August 14, 2013
USA
                                                                                          Invoice # 697007189
Attention: Mr. James D. Heaney                                                                          Page 1
           Managing Director


Re: Norte! Networks Capital Corporation 7.875% 2026 Bonds                            File No: 030185/000001

PROFESSIONAL SERVICES rendered to July 31, 2013 in connection with the above matter as described
in the attached.

Fees                                                                                                 $ 23,106.00
Disbursements                                                                                             236.40

Total this Invoice                                                                   CAD             $ 23,342.40


If Paid in US Dollars                                                                 USD            $ 23,054,22


                                                   THIS IS OUR ACCOUNT - E. & O.E.

                                                   BORDEN LADNER GERVAIS LLP




                                                   By:
                                                         Edmond F.B. Lamek




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              INTEREST AT THE RATE OF 1.3% PER ANNUM MAY BE CHARGED ON ACCOUNTS WHICH ARE OVERDUE
                            GST/HST REGISTRATION # R869096974RT0001
              Case 09-10138-MFW            Doc 17958-9        Filed 02/24/17        Page 12 of 102




                                                                                            Borden Ladner Gervais LLP
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                                                                                              August 14, 2013
                                                                                          Invoice # 697007189
Law Debenture Trust Company of New York                                               File No: 030185/000001
Re: Norte' Networks Capital Corporation 7.875% 2026 Bonds                                               Page 2

PROFESSIONAL SERVICES RENDERED to July 31, 2013

Apr 4, 2013      E.F.B. Lamek                 2.50 Attend meeting at Goodmans to discuss Litigation
                                                    Protocol among Core parties.
Apr 15, 2013 E.F.B. Lamek                     1.20 Reviewing latest correspondence and related draft
                                                    litigation timetable/allocation protocol.
Apr 17, 2013 E.F.B. Lamek                     0.80 Reviewing latest motion materials and allocation
                                                    protocol materials from Goodmans and Cleary.
Apr 23, 2013 E.F.B. Lamek                     1.80 Reviewing materials received from various Core Parties
                                                    for tomorrow's hearing; email exchanges with Dan
                                                    Lowenthal and John Salmas re US Debtor's Statement.
Apr 24, 2013 E.F.B. Lamek                     1.60 Email exchanges regarding the submissions of the US
                                                    Debtors and the Canadian Only Bonds.
Apr 30, 2013 E.F.B. Lamek                     1.50 Reviewing Court of Appeal materials and
                                                    confidentiality stipulation materials and related email
                                                    traffic.
May 1, 2013      E.F.B. Lamek                 1.80 Reviewing latest circulated allocation protocol
                                                    materials.
May 2, 2013      E.F.B. Lamek                 1.00 Reviewing orders and endorsements regarding
                                                    Allocation Motion protocol and Confidentiality Order.
May 15, 2013 E.F.B. Lamek                     1.40 Reviewing latest Allocation Motion materials; email
                                                    exchange with Dan Lowenthal regarding Law
                                                    Debenture Joinder and next steps and timing.
May 16, 2013 E.F.B. Lamek                     2.70 Drafting, serving and filing Canadian Joinder of Law
                                                    Debenture as indenture trustee.
May 17, 2013 E.F.B. Lamek                     1.50 Reviewing other parties' Allocation Motion
                                                    submissions.
May 21, 2013     J.L. Francis                 0.40 Filed a Joinder of Law at the Commercial List Office.
May 22, 2013     E.F.B. Lamek                 1.30 Reviewing Allocation materials and email exchanges.
May 27, 2013     E.F.B. Lamek                 0.30 Reviewing various Core Party documents received;
                                                    email exchange with Dan Lowenthal.
May 29, 2013     E.F.B. Lamek                 4.00 Reviewing other Core Parties' Responses and Replies;
                                                    preparing and serving Law Debenture reply.
Jun 3, 2013      E.F.B. Lamek                 1.30 Exchange of emails with Dan Lowenthal regarding
                                                    Thursday's meeting; reviewing materials as they get
                                                    emailed.


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                             GST/HST REGISTRATION # R869096974RT0001
           Case 09-10138-MFW              Doc 17958-9         Filed 02/24/17        Page 13 of 102




                                                                                           Borden Ladner Gervais LLP

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                                                                                             August 14, 2013
                                                                                         Invoice # 697007189
Law Debenture Trust Company of New York                                              File No: 030185/000001
Re: Nortel Networks Capital Corporation 7.875% 2026 Bonds                                              Page 3

Jun 12, 2013     L. White                    0.40 Filed a Joiner of Law Debenture at the Commercial
                                                   Court.
Jul 25, 2013     E.F.B. Lamek                0.80 Email exchange with D. Lowenthal; reviewing draft
                                                   response to CCC reservation regarding identity of
                                                   Bondholders.


                            TO OUR FEES                                                               $ 23,106.00




DISBURSEMENTS:


Non-Taxable
               Copies                                                             $236.40

Total Non-Taxable Disbursements                                                    236.40


Total Disbursements                                                                                          236.40


Total Fees and Disbursements                                                                             23,342.40


TOTAL THIS INVOICE                                                                    CAD             $ 23,342.40

If Paid in US Dollars                                                                  USD            $ 23,054.22




                                                  PAYABLE ON RECEIPT
               INTEREST AT THE RATE OF 1 3% PER ANNUM MAY BE CHARGED ON ACCOUNTS WHICH ARE OVERDUE
                             GST/HST REGISTRATION # R869096974RT0001
           Case 09-10138-MFW             Doc 17958-9         Filed 02/24/17       Page 14 of 102




                                                                                          Borden Ladner Gervais LIP

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Law Debenture Trust Company of New York
400 Madison Avenue
New York, NY 10017                                                                           August 14, 2013
USA                                                                                      Invoice # 697007189
                                                                                                 EFBL/EFBL


Re: Nortel Networks Capital Corporation 7.875% 2026 Bonds                             File No: 030185/000001

                                         REMITTANCE COPY

Fees                                                                                                 $ 23,106.00
Disbursements                                                                                             236.40

Total this Invoice                                                                   CAD             $ 23,342.40


If Paid in US Dollars                                                                USD             $ 23,054.22

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                            GST/HST REGISTRATION # R869096974RT0001
          Case 09-10138-MFW              Doc 17958-9         Filed 02/24/17       Page 15 of 102




                                                                                         Borden Ladner Gervais LLP

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New York, NY 10017                                                                           August 14, 2013
USA                                                                                      Invoice # 697007189
                                                                                                 EFBL/EFBL


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                                  20 Queen Street West, 4th Floor
                                          Toronto, Ontario
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                                            Bank #: 002
                                       Bank Transit #: 47696
                                     Swift Code: NOSCCATT
                          General Canadian Fund Account#: 80002 14221 11
                               U.S. Fund Account #: 80002 51181 15
                                      ABA number 026002532

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                           GST/HST REGISTRATION # R869096974RT0001
        Case 09-10138-MFW               Doc 17958-9         Filed 02/24/17         Page 16 of 102




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Law Debenture Trust Company of New York
400 Madison Avenue
New York, NY 10017                                                                                  July 22, 2014
USA
                                                                                           Invoice # 697119510
Attention: Mr. James D. Heaney                                                                           Page 1
           Managing Director


Re: Nortel Networks Capital Corporation 7.875% 2026 Bonds                            File No: 030185/000001

PROFESSIONAL SERVICES rendered to June 30, 2014 in connection with the above matter as described
in the attached.

Fees                                                                                                $ 196,538.00
Disbursements                                                                                             978.40

Total this Invoice                                                                    CAD           $ 197,516.40

If Paid in US Dollars                                                                 USD           $ 187,574.93


                                                   THIS IS OUR ACCOUNT - E. & O.E.

                                                   BORDEN LADNER GERVAIS LLP



                                                   By:
                                                         Edmond F.B. Lamek




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                            GST/HST REGISTRATION # R869096974RT0001
       Case 09-10138-MFW                Doc 17958-9         Filed 02/24/17        Page 17 of 102




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                                                                                                July 22, 2014
                                                                                         Invoice # 697119510
Law Debenture Trust Company of New York                                              File No: 030185/000001
Re: Nortel Networks Capital Corporation 7.875% 2026 Bonds                                              Page 2

PROFESSIONAL SERVICES RENDERED to June 30, 2014

Jan 10, 2014     E.F.B. Lamek                2.00 Weekly review of Nortel Allocation Trial emails and
                                                   related correspondence, protocols, and draft court
                                                   motion and trial documentation.
Jan 17, 2014     E.F.B. Lamek                2.00 Weekly review of Nortel Allocation Trial emails and
                                                   related correspondence, protocols, and draft court
                                                   motion and trial documentation.
Jan 24, 2014     E.F.B. Lamek                2.00 Weekly review of Nortel Allocation Trial emails and
                                                   related correspondence, protocols, and draft court
                                                   motion and trial documentation.
Jan 31, 2014     E.F.B. Lamek                2.00 Weekly review of Nortel Allocation Trial emails and
                                                   related correspondence, protocols, and draft court
                                                   motion and trial documentation.
Feb 7, 2014      E.F.B. Lamek                2.00 Weekly review of Nortel Allocation Trial emails and
                                                   related correspondence, protocols, and draft court
                                                   motion and trial documentation.
Feb 14, 2014 E.F.B. Lamek                    2.00 Weekly review of Nortel Allocation Trial emails and
                                                   related correspondence, protocols, and draft court
                                                   motion and trial documentation.
Feb 21, 2014 E.F.B. Lamek                    2.00 Weekly review of Nortel Allocation Trial emails and
                                                   related correspondence, protocols, and draft court
                                                   motion and trial documentation.
Feb 28, 2014 E.F.B. Lamek                    2.00 Weekly review of Nortel Allocation Trial emails and
                                                   related correspondence, protocols, and draft court
                                                   motion and trial documentation.
Mar 5, 2014      E.F.B. Lamek                0.30 Email exchanges with Dan Lowenthal regarding
                                                   meeting at Goodman's next week; reviewing latest draft
                                                   Trial Protocol.
Mar 7, 2014      E.F.B. Lamek                3.00 Weekly review of Nortel Allocation Trial emails and
                                                   related correspondence, protocols, and draft court
                                                   motion and trial documentation.
Mar 14, 2014 E.F.B. Lamek                    3.00 Weekly review of Nortel Allocation Trial emails and
                                                   related correspondence, protocols, and draft court
                                                   motion and trial documentation.
Mar 21, 2014 E.F.B. Lamek                    3.00 Weekly review of Nortel Allocation Trial emails and
                                                   related correspondence, protocols, and draft court
                                                   motion and trial documentation.
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               INTEREST AT THE RATE OF 13% PER ANNUM MAY RE CHAROFD ON ACCOUNTS WHICH ARE OVERDUE
                             GST/HST REGISTRATION # R869096974RT0001
        Case 09-10138-MFW               Doc 17958-9         Filed 02/24/17         Page 18 of 102




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                                                                                         Invoice # 697119510
Law Debenture Trust Company of New York                                              File No: 030185/000001
Re: Nortel Networks Capital Corporation 7.875% 2026 Bonds                                              Page 3

Mar 28, 2014 E.F.B. Lamek                   3.00 Weekly review of Nortel Allocation Trial emails and
                                                  related correspondence, protocols, and draft court
                                                  motion and trial documentation.
Apr 4, 2014     E.F.B. Lamek                3.00 Weekly review of Nortel Allocation Trial emails and
                                                  related correspondence, protocols, and draft court
                                                  motion and trial documentation.
Apr 11, 2014 E.F.B. Lamek                   3.00 Weekly review of Nortel Allocation Trial emails and
                                                  related correspondence, protocols, and draft court
                                                  motion and trial documentation.
Apr 18, 2014 E.F.B. Lamek                   3.00 Weekly review of Nortel Allocation Trial emails and
                                                  related correspondence, protocols, and draft court
                                                  motion and trial documentation.
Apr 25, 2014 E.F.B. Lamek                   3.00 Weekly review of Nortel Allocation Trial emails and
                                                  related correspondence, protocols, and draft court
                                                  motion and trial documentation.
May 2, 2014     E.F.B. Lamek                2.40 Initial organization and review of Pre-Trial Briefs;
                                                  emails with Patterson Belknap regarding filing of Law
                                                  Debenture Joinder by May 6.
May 5, 2014     E.F.B. Lamek                3.40 Telephone calls and exchange of emails with Patterson
                                                  Belknap regarding proposed Joinder and related issues;
                                                  begin drafting Canadian Joinder; reviewing Pre-trial
                                                  briefs.
May 6, 2014 E.F.B. Lamek                    4.50 Reading Pre-trial Briefs; finalizing Law Debenture
                                                  Joinder, serving and filing same; emails exchanged with
                                                  Patterson Belknap re same.
May 7, 2014     J.L. Francis                0.40 Filed a Joinder of Law Debenture at the Commercial
                                                  List Office.
May 7, 2014     E.F.B. Lamek                4.00 Conference call with Patterson Belknap regarding
                                                  attendance at trial; continue reading Pre-trial Briefs;
                                                  calls with J. Stam, R. Swan, S. Seigel, all regarding
                                                  logistics.
May 8, 2014     E.F.B. Lamek                2.50 Reading Pre-trial Briefs; trial protocols, MRDA, IFSA,
                                                  FCFSA.
May 9, 2014     E.F.B. Lamek                4.50 Reviewing additional Pre-trial documents and various
                                                  email exchanges with Patterson Belknap, Bennett Jones
                                                  and Cassels Brock.
May 12, 2014 E.F.B. Lamek                   8.80 Reviewing latest documents received and attend Day 1
                                                  of Nortel Allocation Trial.
                                                 PAYABLE ON RECEIPT
              INTEREST AT THE RATE OF I 3% PER ANNUM MAY BE CHARGED ON ACCOUNTS WHICH ARE OVERDUE
                            GST/HST REGISTRATION # R869096974RT0001
        Case 09-10138-MFW                Doc 17958-9         Filed 02/24/17         Page 19 of 102




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                                                                                                 July 22, 2014
                                                                                          Invoice # 697119510
Law Debenture Trust Company of New York                                               File No: 030185/000001
Re: Norte! Networks Capital Corporation 7.875% 2026 Bonds                                               Page 4

May 13, 2014     E.F.B. Lamek                 7.50   Attend Day 2 of Nortel Allocation Trial; review emailed
                                                     exhibits and Court filed documents.
May 14, 2014     E.F.B. Lamek                 8.30   Attend Day 3 of Nortel Allocation Trial; review
                                                     Hamilton Affidavit and related materials.
May 15, 2014     E.F.B. Lamek                 6.70   Attend Day 4 of Nortel Allocation Trial.
May 20, 2014     E.F.B. Lamek                 7.00   Review weekend email correspondence and attend day 5
                                                     of Nortel Trial.
May 21, 2014     E.F.B. Lamek                 7.50   Attend day 6 of Nortel Trial.
May 22, 2014     E.F.B. Lamek                 6.80   Attend day 7 of Nortel Trial (afternoon by Live Stream).
May 28, 2014     E.F.B. Lamek                 3.00   Attend Nortel Trial by Live Stream.
May 29, 2014     E.F.B. Larnek                2.00   Attend Nortel Trial by Live Stream.
May 30, 2014     E.F.B. Larnek                5.80   Attend Nortel Trial by Live Streaming.
Jun 5, 2014      E.F.B. Lamek                 5.50   Morning court attendance at Nortel Trial, and by Live
                                                     Streaming in the afternoon.
Jun 6, 2014      E.F.B. Lamek                 7.80   Court attendance at Nortel Trial and follow up meeting
                                                     with Justice Newbould and other core parties.
Jun 13, 2014     E.F.B. Lamek                 3.80   Calls and emails with Patterson Belknap regarding
                                                     McConnell Report; reviewing McConnell Report and
                                                     deposition transcript; conference call with Aiken Gump
                                                     regarding plan for McConnell re-examination if NNNC
                                                     Binds raised by UKPC.
Jun 16, 2014     E.F.B. Lamek                 6.50   Attend allocation trial.
Jun 17, 2014     E.F.B. Lamek                 7.00   Attend Allocation Trial.
Jun 18, 2014     E.F.B. Lamek                 7.50   Attend Allocation Trial.
Jun 19, 2014     E.F.B. Lamek                 9.50   Attend Allocation Trial; working on pre filing interest
                                                     memorandum to the Judges; various emails and reviews
                                                     and comments on drafts of same.
Jun 20, 2014     E.F.B. Lamek                 3.00   Attend Nortel Allocation Trial.
Jun 23, 2014     E.F.B. Lamek                 5.50   Attend Allocation Trial and Oral Submissions on Post
                                                     Filing Interest issue.
Jun 24, 2014     E.F.B. Lamek                 6.50   Attend final day of Allocation Trial; reviewing Judges
                                                     comments on Post Filing Interest; email exchanges with
                                                     Lowenthal and Seigel; reviewing principal cases on
                                                     CCAA Post Filing Interest, making summary notes of
                                                     issues of concern.
Jun 25, 2014     E.F.B. Lamek                 6.20   Working on Post Filing Interest issue most of day;
                                                     lengthy discussion with Sheryl Siegel.
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               INTEREST AT THE RATE OF 1.3% PER ANNUM MAY BE CHARGED ON ACCOUNTS WHICH ARE OVERDUE
                             GSTIHST REGISTRATION # R869096974RT0001
        Case 09-10138-MFW                Doc 17958-9          Filed 02/24/17        Page 20 of 102




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                                                                                                  July 22, 2014
                                                                                           Invoice # 697119510
Law Debenture Trust Company of New York                                                File No: 030185/000001
Re: Nortel Networks Capital Corporation 7.875% 2026 Bonds                                                Page 5

Jun 26, 2014     E.F.B. Lamek                 5.80 Begin outlining arguments on Monitor's requested Post
                                                   Filing Interest motion; further research of cases.
Jun 27, 2014     E.F.B. Lamek                 7.40 Attend on 9:30 am Judges call regarding scheduling of
                                                   Post Filing Interest motion (July 25) and subsequent
                                                   conference call with Siegel, Riela, Lowenthal regarding
                                                   strategies and possible joinder with Ad Hock
                                                   Bondholders' committee; continue working on outline of
                                                   issues and arguments.
Jun 30, 2014     E.F.B. Lamek                 2.00 Reviewing materials and cases from Sheryl Seigel
                                                   regarding various post filing interest and costs issues.


                           TO OUR FEES                                                                $ 196,538.00




DISBURSEMENTS:


Non-Taxable
               Binding Charges                                                      $26.00
               Copies                                                               708.90
               Westlaw Searches                                                     243.50

Total Non-Taxable Disbursements                                                     978.40


Total Disbursements                                                                                           978.40


Total Fees and Disbursements                                                                            197,516.40


TOTAL THIS INVOICE                                                                     CAD            $ 197,516.40

If Paid in US Dollars                                                                  USD            $ 187,574.93

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                             GST/HST REGISTRATION # R869096974RT0001
        Case 09-10138-MFW               Doc 17958-9         Filed 02/24/17         Page 21 of 102




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Law Debenture Trust Company of New York
400 Madison Avenue
New York, NY 10017                                                                               July 22, 2014
USA                                                                                       Invoice # 697119510
                                                                                                  EFBL/EFBL


Re:Nortel Networks Capital Corporation 7.875% 2026 Bonds                               File No: 030185/000001

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Fees                                                                                                $ 196,538.00
Disbursements                                                                                             978.40

Total this Invoice                                                                    CAD           $ 197,516.40

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       Case 09-10138-MFW              Doc 17958-9         Filed 02/24/17         Page 22 of 102




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USA                                                                                     Invoice # 697119510
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                                      Bank Transit #: 47696
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                              U.S. Fund Account #: 80002 51181 15
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           Case 09-10138-MFW             Doc 17958-9         Filed 02/24/17        Page 23 of 102




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Law Debenture Trust Company of New York
400 Madison Avenue
New York, NY 10017                                                                               October 3, 2014
USA
                                                                                           Invoice # 697141690
Attention: Mr. James D. Heaney                                                                           Page 1
           Managing Director


Re: Nortel Networks Capital Corporation 7.875% 2026 Bonds                             File No: 030185/000001

PROFESSIONAL SERVICES rendered to August 31, 2014 in connection with the above matter as
described in the attached.

Fees                                                                                                 $ 141,114.50
Disbursements                                                                                            2,784.85

Total this Invoice                                                                    CAD            $ 143,899.35

If Paid in US Dollars                                                                 USD            $ 130,639.45


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                                                   BORDEN LADNER GERVAIS LLP



                                                   By:
                                                         Edmond F.B. Lamek




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                             GST/HST REGISTRATION # R869096974RT000I
          Case 09-10138-MFW                Doc 17958-9          Filed 02/24/17        Page 24 of 102




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                                                                                                   October 3, 2014
                                                                                              Invoice # 697141690
Law Debenture Trust Company of New York                                                   File No: 030185/000001
Re: Nortel Networks Capital Corporation 7.875% 2026 Bonds                                                   Page 2

PROFESSIONAL SERVICES RENDERED to August 31, 2014

Jul 2, 2014              Lamek                 2.80 Calls and emails with Richard Swan regarding next
                                                     steps and Joint Submissions on Post Filing Interest and
                                                     related legal issues and concerns.
Jul 3, 2014       E.F.B. Lamek                 3.80 Call with Sheryl Seigel, working on Joint Brief
                                                     submissions regarding Post Filing Interest.
Jul 4, 2014      E.F.B. Lamek                  6.80 Conference call with Bennett Jones and Sheryl Seigel;
                                                     working most of day on Post Filing Interest and related
                                                     research and drafting of argument.
Jul 7, 2014      E.F.B. Lamek                  5.30 Working on Post Filing Interest and related research of
                                                     issues that may arise in Monitor's brief.
Jul 8, 2014      E.F.B. Lamek                  1.80 Working on brief related notes.
Jul 10, 2014     E.F.B. I,amek                 2.50 Working on brief and telephone calls with Bennett
                                                     Jones.
Jul 11, 2014     E. F . B. Lamek               3.50 Working on Post Filing Interest submissions and
                                                     exchange of emails with Bennett Jones regarding
                                                     various legal and strategic issues.
Jul 12, 2014     E.F.B. Lamek                  1.50 Review latest draft Post Filing Interest brief from
                                                     Bennett Jones; call and several emails with Gavin
                                                     Finlayson.
Jul 14, 2014     E.F.B. Lamek                  4.80 Drafting revisions to Bennett Jones' weekend draft of
                                                     Canadian Brief; call with Sheryl Seigel; call with
                                                     Bennett Jones.
Jul 15, 2014     E.F.B. Lamek                  6.50 Reviewing latest draft of Bennett Jones Canadian Law
                                                     submissions; calls with Richard Swan; providing final
                                                     comments and emails with D. Lowenthal regarding Law
                                                     Debenture approval to join Bennett Jones Brief; begin
                                                     reviewing cases on Monitor's Book of Authorities.
Jul 15, 2014     J.D. Marshall                 2.00 Confer with E. Lamek and C. Hill re: interest
                                                     submissions; review facta.
Jul 16, 2014     E.F.B. Lamek                  3.50 Reviewing Brief and Facta from Monitor, CCC, UKPC,
                                                     UCC, US Debtor.
Jul 17, 2014     E.F.B. Lamek                  7.20 Research of issues raised by the Monitor and drafting
                                                     responding Bondholder submissions to Monitors
                                                     Canadian Law Factum points.


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                              GST/HST REGISTRATION # R869096974RT0001
          Case 09-10138-MFW               Doc 17958-9          Filed 02/24/17        Page 25 of 102




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                                                                                                 October 3, 2014
                                                                                            Invoice # 697141690
Law Debenture Trust Company of New York                                                 File No: 030185/000001
Re: Nortel Networks Capital Corporation 7.875% 2026 Bonds                                                 Page 3

Jul 18, 2014     E.F.B. Lamek                 4.50 Calls with Sheryl Seigel and Rick Orzy; reviewing
                                                    Sheryl Seigel's notes on legal points; revising Law
                                                    Debenture insertions for Bennett Jones.
Jul 21, 2014     E.F.B. Lamek                 5.30 Working on Canadian Law Brief; reviewing draft US
                                                    Law Brief; revising inherent jurisdiction case law; call
                                                    with Sheryl Seigel re same.
Jul 21, 2014     J.D. Marshall                3.00 Read factums and authorities for hearing on post-filing
                                                    interest.
Jul 22, 2014     E.F.B. Lamek                 6.80 Providing final comments on Bondholder/indenture
                                                    trustee Canadian Reply brief; reviewing reply briefs of
                                                    the Monitor, CCC, UKPC, discuss with John Marshall;
                                                    various emails to Bennett Jones.
Jul 23, 2014     E.F.B. Lamek                 5.80 Continue review of Reply Briefs and accompanying
                                                    authorities; discussing arguments and issues with John
                                                    Marshall; calls with Sheryl Seigel, Gavin Finlayson and
                                                    Richard Swan; working on argument with John
                                                    Marshall.
Jul 23, 2014     J.D. Marshall               10.00 Review factums on PPI issue; confer with E. Dadouch
                                                    and prepare for argument.
Jul 24, 2014     E.F.B. Lamek                 7.30 Reviewing and replying to Sheryl Seigel comments
                                                    regarding issues to avoid/stop judge from ruling on
                                                    extraneous issues; conference call with Bennett Jones
                                                    and McMillan with John Marshall; conference court call
                                                    regarding US Estate BNY settlement; follow up calls
                                                    with D. Lowenthal and Bennett Jones regarding
                                                    implications of the US settlement.
Jul 24, 2014     J.D. Marshall                9.00 Review materials for hearing of post-filing interest
                                                    issue; conference call with counsel for other noteholders
                                                    to prepare for hearing; telephone case conference with
                                                    U.S. Judge Gross and counsel for all parties re:
                                                    settlement of U.S. hearing on interest issue; continue
                                                    review of materials and preparation for hearing.
Jul 25, 2014     J.D. Marshall                6.00 Appear on motion before Newbould J. re: post-filing
                                                    interest (9:00am - 2:00pm); report to client and E.
                                                    Lamek; confer with U.S. counsel.
Aug 5, 2014      E.F.B. Lamek                 1.80 Emails with Dan Lowenthal re closing brief - reviewing
                                                    Monitor's motion re US PEI settlement and US Debtors'
                                                    response.
                                                  PAYABLE ON RECEIPT
               INTEREST AT THE RATE OF 1 3% PER ANNUM MAY BE CHARGED ON ACCOUNTS WI IICH ARE OVERDUE
                              GST/HST REGISTRATION # R869096974RT0001
         Case 09-10138-MFW               Doc 17958-9         Filed 02/24/17        Page 26 of 102



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                                                                                               October 3, 2014
                                                                                          Invoice # 697141690
Law Debenture Trust Company of New York                                               File No: 030185/000001
Re: Norte] Networks Capital Corporation 7.875% 2026 Bonds                                               Page 4

Aug 6, 2014      E.F.B. Lamek                 2.20 Call with Sheryl Seigel re PFI motion and joinders in
                                                    Allocation Trial; reviewing drafts of Ad Hoc Brief and
                                                    US Interests PEI briefs; email with Lowenthal re next
                                                    steps on our part and status of PFI settlement in the US.
Aug 7, 2014      E.F.B. Lamek                 6.50 Emails with Dan Lowenthal, reviewing Patterson
                                                    Belknap draft of post trial brief and providing comments
                                                    on same, reviewing further drafts and various emails re
                                                    same; organizing filing, etc. in Canada.
Aug 8, 2014      J.L. Francis                 0.40 Filed sealed material with the Commercial List Office.
Aug 8, 2014      E.F.B. Lamek                 3.50 Arranging filing Law Debenture Brief and reading Post
                                                    Filing Brief of Monitor.
Aug 11, 2014     E.F.B. Lamek                 5.50 Reading Post Allocation Trial Briefs of US Interests and
                                                    other Canadian Side parties.
Aug 19, 2014     E.F.B. Lamek                 2.30 Working on Appeal Grounds and factum paragraphs;
                                                    emails re costs.
Aug 19, 2014     J.D. Marshall                3.00 Receive and review Newbould J. decision re:
                                                    post-application interest; consider appeal issues and
                                                    confer with E. Lamek re: same.
Aug 20, 2014 E.F.B. Lamek                     3.50 Reviewing PFI decision of Justice Newbould and calls
                                                    with Seigel and Swan re same; emails with John
                                                     Marshall and Dan Lowenthal.
Aug 20, 2014 J.D. Marshall                    2.00 Confer with E. Lamek re: appeal issues; review
                                                    procedural points and main authorities relied on by
                                                    Newbould J.
Aug 21, 2014 E.F.B. Lamek                     5.50 Working on appeal grounds, calls with Swan, Lowenthal
                                                    and Seigel re same.
Aug 21, 2014 J.D. Marshall                    1.80 Consider appeal issues; advise re: currency conversion
                                                     issues.
Aug 22, 2014 E.F.B. Lamek                     2.70 Call with Sheryl Seigel and reviewing her notes for
                                                     leave to appeal, working on legal arguments for
                                                    appeal/leave.
Aug 27, 2014 J.D. Marshall                    0.30 Correspondence re: costs.
Aug 28, 2014 E.F.B. Lamek                     3.40 Several emails with Lowenthal and Guiney re
                                                     interpretation of the Trust Indenture; reviewing Trust
                                                     Indenture and memo to Lowenthal re sale; working on
                                                     PFI appeal recommendation email to client.


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               INTEREST AT THE RATE OF I 3% PER ANNUM MAY BE CHARGED ON ACCOUNTS WHICH ARE OVERDUE
                              GST/HST REGISTRATION # R869096974RT0001
          Case 09-10138-MFW              Doc 17958-9         Filed 02/24/17        Page 27 of 102



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                                                                                               October 3, 2014
                                                                                          Invoice # 697141690
Law Debenture Trust Company of New York                                               File No: 030185/000001
Re: Norte! Networks Capital Corporation 7.875% 2026 Bonds                                               Page 5

Aug 28, 2014 J.D. Marshall                   1.00 Confer re: appeal issues; review Newbould J. reasons
                                                   and consider form of order; read law re: appeal issues.


                          TO OUR FEES                                                                $ 141,114.50




DISBURSEMENTS:


Non-Taxable
              Binding Charges                                                      $71.75
              Conference Calls                                                      28.20
              Copies                                                             2,385.90
              Westlaw Searches                                                     299.00

Total Non-Taxable Disbursements                                                  2,784.85


Total Disbursements                                                                                        2,784.85


Total Fees and Disbursements                                                                           143,899.35


TOTAL THIS INVOICE                                                                    CAD            $ 143,899.35

If Paid in US Dollars                                                                 USD            $ 130,639.45




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                             GST/HST REGISTRATION # R869096974RT0001
           Case 09-10138-MFW             Doc 17958-9          Filed 02/24/17        Page 28 of 102



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Law Debenture Trust Company of New York
400 Madison Avenue
New York, NY 10017                                                                             October 3, 2014
USA                                                                                        Invoice # 697141690
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Re: Nortel Networks Capital Corporation 7.875% 2026 Bonds                               File No: 030185/000001

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Fees                                                                                                  $ 141,114.50
Disbursements                                                                                             2,784.85

Total this Invoice                                                                     CAD            $ 143,899.35

If Paid in US Dollars                                                                  USD            $ 130,639.45

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         Case 09-10138-MFW             Doc 17958-9         Filed 02/24/17        Page 29 of 102



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400 Madison Avenue
New York, NY 10017                                                                           October 3, 2014
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          Case 09-10138-MFW             Doc 17958-9         Filed 02/24/17        Page 30 of 102




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Law Debenture Trust Company of New York
400 Madison Avenue
New York, NY 10017                                                                          November 26, 2014
USA
                                                                                           Invoice # 697159315
Attention: Mr. James D. Heaney                                                                           Page 1
           Managing Director


Re: Nortel Networks Capital Corporation 7.875% 2026 Bonds                             File No: 030185/000001

PROFESSIONAL SERVICES rendered to October 31, 2014 in connection with the above matter as
described in the attached.

Fees                                                                                                $ 100,291.00
Disbursements                                                                                             616.50

Total this Invoice                                                                    CAD           $ 100,907.50

If Paid in US Dollars                                                                 USD            $ 90,883.09


                                                   THIS IS OUR ACCOUNT - E. & O.E.

                                                   BORDEN LADNER GERVAIS LLP



                                                   By:
                                                         Edmond F.B. Lamek




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                             GST/HST REGISTRATION # R869096974RT0001
          Case 09-10138-MFW              Doc 17958-9         Filed 02/24/17        Page 31 of 102




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                                                                                         Invoice # 697159315
Law Debenture Trust Company of New York                                              File No: 030185/000001
Re: Norte! Networks Capital Corporation 7.875% 2026 Bonds                                              Page 2

PROFESSIONAL SERVICES RENDERED to October 31, 2014

Sep 2, 2014     J.L. Francis                 0.40 Delivered a Joinder of Law Debenture to Justice
                                                   Newbould at Osgoode Hall.
Sep 2, 2014     E.F.B. Lamek                 1.40 Discussions with Dan Lowenthal and John Marshall
                                                   regarding Tactical and legal implications of being or not
                                                   being a co leave applicant in PFI proceedings.
Sep 2, 2014     E.F.B. Lamek                 1.20 Working on procedural memo to Law Debenture and
                                                   Patterson Belknap regarding status on appeal and cost
                                                   related issues; calls with Finlayson of BJ and Seigel of
                                                   McMillan re same and additional comments on Notice
                                                   of Motion for Leave.
Sep 2, 2014     J.D. Marshall                2.00 Research re: appeal and procedural issues.
Sep 3, 2014     E.F.B. Lamek                 3.30 Calls and emails with Bennett Jones and McMillan
                                                   regarding PFI motion costs positions and implications
                                                   for leave motion; emails with DJ Miller regarding
                                                   UKPC position letter on costs; emails with Lowenthal
                                                   regarding Leave/appeal timing issues.
Sep 3, 2014     E.F.B. Lamek                 1.70 Conference call with Vedder Price, Patterson Belknap,
                                                   McMillan and John Marshall regarding clients'
                                                   considerations regarding participating as leave
                                                   applicant; follow up emails with Lowenthal.
Sep 3, 2014     J.D. Marshall                2.50 Research re procedural issues on appeal; confer with E.
                                                   Lamek; conference call with other counsel.
Sep 4, 2014     E.F.B. Lamek                 0.40 Discussion with DJ Miller regarding her letter regarding
                                                   costs of indenture trustees.
Sep 4, 2014     J.D. Marshall                3.00 Review draft order & notice of motion for leave to
                                                   appeal; confer with E. Lamek re: same; read caselaw re:
                                                   appeal.
Sep 5, 2014     E.F.B. Lamek                 2.50 Emails and calls with Dan Lowenthal; John Marshall
                                                   regarding standing issues and comments of Dennis
                                                   O'Connor; call with Gavin Finlayson.
Sep 5, 2014     J.D. Marshall                0.80 Confer with E. Lamek re: revisions to notice of motion
                                                   for leave to appeal.
Sep 8, 2014     E.F.B. Lamek                 0.80 Telephone call with Gavin Finlayson regarding Notice
                                                   of Motion for Leave and related issues; conference call
                                                   with Lowenthal, Riela, Seigel re same; many follow up
                                                   email exchanges.
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              INTEREST AT THE RATE OF 1 3% PER ANNUM MAY BE CHARGED ON ACCOUNTS WHICH ARE OVERDUE
                            GST/HST REGISTRATION # R869096974RT0001
         Case 09-10138-MFW               Doc 17958-9         Filed 02/24/17        Page 32 of 102




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                                                                                          Invoice # 697159315
Law Debenture Trust Company of New York                                               File No: 030185/000001
Re: Nortel Networks Capital Corporation 7.875% 2026 Bonds                                               Page 3

Sep 8, 2014      J.D. Marshall                0.60 Advising on ramifications of not filing appeal and
                                                   standing at S.C.C.
Sep 9, 2014      E.F.B. Lamek                 2.20 Emails with Lowenthal, Swan, Finlayson regarding
                                                   service of Motion for Leave; working on appeal factum
                                                   arguments to discuss with Bennett Jones.
Sep 10, 2014     A. Hodhod                    0.50 Filed documents at Commercial List and Judge's
                                                   Reception at Osgoode Hall for Edmond Lamek.
Sep 10, 2014     E.F.B. Lamek                 0.80 Email memo to Bennett Jones regarding preference
                                                   issues in a subsequent bankruptcy of Nortel Networks
                                                   Limited.
Sep 11, 2014     A. Hodhod                    3.10 Read Endorsement of Justice Newbould; read Notice of
                                                   Motion for Leave to Appeal; drafted email to Edmond
                                                   Lamek re procedural steps involved in appealing the
                                                   decision of Justice Newbould.
Sep 11, 2014     E.F.B. Lamek                 3.60 Working on issues relating to form of order proposed by
                                                   Goodmans and Bennett Jones; materials to be delivered
                                                   to Justice Newbould; strategy for dealing with Trustee
                                                   claims issues; drafting email memo to Sheryl Seigel.
Sep 11, 2014     J.D. Marshall                0.50 Review amended endorsement of Newbould J.
Sep 12, 2014     A. Hodhod                    0.50 Drafted follow-up email re procedural steps following a
                                                   notice of motion for leave to appeal.
Sep 12, 2014     E.F.B. Lamek                 1.60 Two calls with Bennett Jones; call with D. Lowenthal, S.
                                                   Seigel, Reila regarding Indenture Trustee Fees and the
                                                   endorsement; call with Bennett Jones re same.
Sep 15, 2014     E.F.B. Lamek                 2.20 Reviewing latest version of draft Post Filing Interest
                                                   order; email memo to Bennett Jones; call with Sheryl
                                                   Seigel; follow up emails with Bennett Jones.
Sep 16, 2014     E.F.B. Lamek                 1.30 Drafting Annotated Post Filing Interest Order; emails
                                                   and call with Bennett Jones re same.
Sep 19, 2014     E.F.B. Lamek                 0.80 Calls with Sheryl Seigel and Gavin Finlayson re BLG
                                                   form of Post Filing Interest Order and approaches to
                                                   Graham Smith at Goodman's.
Sep 21, 2014     E.F.B. Lamek                 1.30 Conference call re settling form of order and related
                                                   matters.
Sep 22, 2014     E.F.B. Lamek                 7.50 Closing Arguments on Allocation Trial; emails with
                                                   Seigel and Finlayson re Post Filing Interest Order.


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         Case 09-10138-MFW              Doc 17958-9         Filed 02/24/17        Page 33 of 102




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                                                                                         Invoice # 697159315
Law Debenture Trust Company of New York                                              File No: 030185/000001
Re: Nortel Networks Capital Corporation 7.875% 2026 Bonds                                              Page 4

Sep 23, 2014 E.F.B. Lamek                    8.50 Allocation Trial closing Arguments day 2; numerous
                                                   follow up emails with Dan Lowenthal regarding his
                                                   submissions tomorrow.
Sep 24, 2014 E.F.B. Lamek                    3.70 Day 3 of Allocation Trial closing arguments.
Sep 25, 2014 E.F.B. Lamek                    3.30 Researching cases on CCAA Stay extensions and
                                                   drafting email memo to Bennett Jones; follow up email
                                                   exchanges and call with Finlayson.
Sep 26, 2014 E.F.B. Lamek                    1.30 Calls and emails with Shayne Kululowicz and Scott
                                                   Bomhoff regarding Stay Extension motion position and
                                                   related strategic matters.
Sep 30, 2014 E.F.B. Lamek                    2.20 Emails with Torys re Post Filing Interest Order; call with
                                                   Sheryl Seigel re PFI Order wording and related issues;
                                                   conference call with Bennett Jones, Sheryl, Mike Riela
                                                   and Dan Lowenthal re PFI Order and Stay extension
                                                   request; follow up call with Lowenthal re all of the
                                                   foregoing.
Sep 30, 2014 E.F.B. Lamek                    1.50 Various email exchanges over day regarding form of
                                                   PFI order and positions of other parties; call with
                                                   Finlayson and Swan re tomorrow's attendance before
                                                   Newbould.
Oct 1, 2014     E.F.B. Lamek                 2.00 Attend Nortel Stay Extension Motion and motion to
                                                   settle form of Post Filing Interest order to be appealed;
                                                   follow up discussion with Bennett Jones; follow up
                                                   email exchange with Dan Lowenthal.
Oct 2, 2014     A. Hodhod                    0.30 Responded to email re timing of factum submission.
Oct 2, 2014     E.F.B. Lamek                 0.50 Email exchanges with Dan Lowenthal and Andrew
                                                   Hodhod regarding timing of leave application reply
                                                   materials..
Oct 8, 2014     E.F.B. Lamek                 5.50 Reviewing draft Factum of Bondholder and providing
                                                   comments to BJ re same; numerous follow up email
                                                   exchanges on various drafting and substantive points;
                                                   email exchange with Dan Lowenthal re PFI Order;
                                                   further email exchanges in evening with Swan and
                                                   Seigel.
Oct 9, 2014     E.F.B. Lamek                 4.70 Working on comments on Factum for Leave to Appeal
                                                   of Ad Hocs, many email exchanges with Sheryl Seigel
                                                   and Gavin Finlayson.

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          Case 09-10138-MFW               Doc 17958-9         Filed 02/24/17        Page 34 of 102




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                                                                                          Invoice # 697159315
Law Debenture Trust Company of New York                                               File No: 030185/000001
Re: Nortel Networks Capital Corporation 7.875% 2026 Bonds                                               Page 5

Oct 14, 2014 E.F.B. Lamek                     2.30 Working on Leave Motion factum and related research
                                                    and review of Nortel court filings.
Oct 16, 2014 E.F.B. Lamek                     2.00 Working on sections for Responding Factum for leave to
                                                    appeal.
Oct 20, 2014 E.F.B. Lamek                     2.30 Working on Court of Appeal Leave Factum - call with
                                                    Sheryl Seigel re same;- email exchange with Dan
                                                    Lowenthal re same.
Oct 27, 2014 E.F.B. Lamek                     4.20 Working on Factum for Ad Hoc Leave motion.
Oct 28, 2014  E.F.B. Lamek                    3.70 Continue work on factum; calls with Sheryl Seigel, John
                                                    Marshall.
Oct 29, 2014 E.F.B. Lamek                     4.80 Conference call with US Counsel to go over Factum
                                                    Comments and next steps; emails with Dan Lowenthal
                                                    and Sheryl Seigel; discussion with John Marshall re
                                                    factum points on prove vs receive.
Oct 30, 2014 E.F.B. Lamek                     5.00 Working on Joint Factum - calls with Bennett Jones re
                                                    their comments and follow up calls and emails with
                                                    Sheryl Seigel and John Marshall; emails with Dan
                                                    Lowenthal re same.
Oct 31, 2014     A. Hodhod                    2.40 Received instructions re service of factum; served
                                                    factum on service list; went through receipt
                                                    confirmations; updated service list; drafted Affidavit of
                                                    Service; read through instructions re filing of factum;
                                                    looked at rules of Civil Procedure re colour of backpage.
Oct 31, 2014     E.F.B. Lamek                 5.80 Finalizing Joint Factum; dealing with service and filing
                                                    logistics; reviewing US Interests Factum and related
                                                    materials.


                           TO OUR FEES                                                               $ 100,291.00




DISBURSEMENTS:


Non-Taxable
               Binding Charges                                                      $22.90
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               INTEREST AT THE RATE OF 1.3% PER ANNUM MAY BE CHARGED ON ACCOUNTS WHICH ARE OVERDUE
                              GST/HST REGISTRATION # R869096974RT0001
          Case 09-10138-MFW             Doc 17958-9         Filed 02/24/17        Page 35 of 102




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Re: Norte] Networks Capital Corporation 7.875% 2026 Bonds                                             Page 6

              Copies                                                              502.20
              Westlaw Searches                                                     84.50
              Miscellaneous Expense - VENDOR: Marie Pacheco;                        6.90
                 INVOICE#: 20140917A; DA lb: 9/17/2014 -
                 Purchase of 4 GB USB Flash drive to download
                 court documents for Justice Newbould

Total Non-Taxable Disbursements                                                   616.50


Total Disbursements                                                                                         616.50


Total Fees and Disbursements                                                                          100,907.50


TOTAL THIS INVOICE                                                                   CAD           $ 100,907.50

If Paid in US Dollars                                                                USD            $ 90,883.09




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          Case 09-10138-MFW             Doc 17958-9         Filed 02/24/17        Page 36 of 102




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Law Debenture Trust Company of New York
400 Madison Avenue
New York, NY 10017                                                                         November 26, 2014
USA                                                                                       Invoice # 697159315
                                                                                                  EFBL/EFBL


Re: Norte! Networks Capital Corporation 7.875% 2026 Bonds                              File No: 030185/000001

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Fees                                                                                                $ 100,291.00
Disbursements                                                                                             616.50

Total this Invoice                                                                    CAD           $ 100,907.50

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         Case 09-10138-MFW             Doc 17958-9         Filed 02/24/17        Page 37 of 102




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Law Debenture Trust Company of New York
400 Madison Avenue
New York, NY 10017                                                                           December 17, 2014
USA
                                                                                           Invoice # 697169093
Attention: Mr. James D. Heaney                                                                           Page 1
           Managing Director


Re: Nortel Networks Capital Corporation 7.875% 2026 Bonds                             File No: 030185/000001

PROFESSIONAL SERVICES rendered to November 30, 2014 in connection with the above matter as
described in the attached.

Fees                                                                                                  $ 10,774.00
Disbursements                                                                                              150.65

Total this Invoice                                                                    CAD            $ 10,924.65

If Paid in US Dollars                                                                 USD              $ 9,574.63


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                                                        Edmond F.B. Lamek




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                            GST/HST REGISTRATION # R869096974RT0001
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                                                                                        Invoice # 697169093
Law Debenture Trust Company of New York                                             File No: 030185/000001
Re: Nortel Networks Capital Corporation 7.875% 2026 Bonds                                             Page 2

PROFESSIONAL SERVICES RENDERED to November 30, 2014

Nov 3, 2014     A. Hodhod                   1.00 Made amendment to Affidavit of Service; prepared
                                                  documents for filing at Court of Appeal and filed factum
                                                  at Court of Appeal.
Nov 3, 2014     E.F.B. Lamek                2.50 Reviewing other parties responding factum and emails
                                                  with Lowenthal, Swan and Seigel re same.
Nov 4, 2014     E.F.B. Lamek                3.10 Drafting language for Bondholder's reply factum
                                                  relating to misnomers in CCAA regarding surplus, etc.;
                                                  related emails with Finlayson and Seigel; call with Orzy.
Nov 5, 2014     E.F.B. Lamek                1.30 Call with Seigel and call with Finlayson re reply factum
                                                  points.
Nov 9, 2014     E.F.B. Lamek                2.70 Reviewing draft Bennett Jones Factum and providing
                                                  revisions and comments to Finlayson and Swan.
Nov 13, 2014 E.F.B. Lamek                   0.50 Calls with Seigel and Bennett Jones re finalizing Reply
                                                  Factum.
Nov 28, 2014 E.F.B. Lamek                   1.00 Revising court of appeal leave decision; emails with
                                                  Lowenthal, Marshal, Seigel re same.


                          TO OUR FEES                                                                $ 10,774.00




DISBURSEMENTS:


Non-Taxable
              Binding Charges                                                      $54.05
              Copies                                                                96.60

Total Non-Taxable Disbursements                                                    150.65


Total Disbursements                                                                                          150.65


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              INTEREST AT THE RATE OF 1.3% PER ANNUM MAY BE CHARGED ON ACCOUNTS WHICH ARE OVERDUE
                            GST/HST REGISTRATION # R869096974RT0001
          Case 09-10138-MFW             Doc 17958-9         Filed 02/24/17        Page 40 of 102




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                                                                                          December 17, 2014
                                                                                        Invoice # 697169093
Law Debenture Trust Company of New York                                             File No: 030185/000001
Re: Nortel Networks Capital Corporation 7.875% 2026 Bonds                                             Page 3

Total Fees and Disbursements                                                                            10,924.65


TOTAL THIS INVOICE                                                                   CAD             $ 10,924.65

If Paid in US Dollars                                                                USD              $ 9,574.63




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                            GST/HST REGISTRATION # R869096974RT0001
           Case 09-10138-MFW             Doc 17958-9         Filed 02/24/17       Page 41 of 102




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Law Debenture Trust Company of New York
400 Madison Avenue
New York, NY 10017                                                                          December 17, 2014
USA                                                                                       Invoice # 697169093
                                                                                                  EFBL/EFBL


Re: Nortel Networks Capital Corporation 7.875% 2026 Bonds                             File No: 030185/000001

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Fees                                                                                                 $ 10,774.00
Disbursements                                                                                             150.65

Total this Invoice                                                                   CAD            $ 10,924.65

If Paid in US Dollars                                                                USD              $ 9,574.63

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                            GST/HST REGISTRATION # R869096974RT0001
         Case 09-10138-MFW             Doc 17958-9         Filed 02/24/17        Page 42 of 102




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400 Madison Avenue
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USA                                                                                      Invoice # 697169093
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                                       Bank Transit #: 47696
                                     Swift Code: NOSCCATT
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                               U.S. Fund Account #: 80002 51181 15
                                      ABA number 026002532

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                        Contact: Accounts Receivable Toronto (416) 367-6703
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                           GST/HST REGISTRATION # R869096974RT0001
           Case 09-10138-MFW             Doc 17958-9         Filed 02/24/17        Page 43 of 102




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                                                                                          Borden Ladner Gervais LLP
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Law Debenture Trust Company of New York
400 Madison Avenue
New York, NY 10017                                                                          December 31, 2014
USA
                                                                                          Invoice # 697177890
Attention: Mr. James D. Heaney                                                                          Page 1
           Managing Director


Re: Nortel Networks Capital Corporation 7.875% 2026 Bonds                             File No: 030185/000001

PROFESSIONAL SERVICES rendered to December 31, 2014 in connection with the above matter as
described in the attached.

Fees                                                                                                   $ 9,024.00
Disbursements                                                                                               40.74

Total this Invoice                                                                    CAD             $ 9,064.74

If Paid in US Dollars                                                                 USD              $ 7,972.51


                                                   THIS IS OUR ACCOUNT - E. & O.E.

                                                   BORDEN LADNER GERVAIS LLP




                                                   By:
                                                         Edmond F.B. Lamek




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              INTEREST AT THE RATE OF I.3% PER ANNUM MAY BE CHARGED ON ACCOUNTS WHICH ARE OVERDUE
                            GST/HST REGISTRATION # R869096974RT0001
          Case 09-10138-MFW               Doc 17958-9         Filed 02/24/17        Page 44 of 102




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                                                                                           December 31, 2014
                                                                                         Invoice # 697177890
Law Debenture Trust Company of New York                                              File No: 030185/000001
Re: Nortel Networks Capital Corporation 7.875% 2026 Bonds                                              Page 2

PROFESSIONAL SERVICES RENDERED to December 31, 2014

Dec 4, 2014      E.F.B. Lamek                3.20 Reviewing and revising Bennett Jones Notice of Appeal;
                                                  call with Seigel to discuss my and her proposed changes;
                                                  email to Orzy and Call with him; follow up emails.
Dec 5, 2014      E.F.B. Lamek                2.40 Conference call with Seigel, Orzy, Peltoma, Bell; follow
                                                  up call with Orzy; reviewing and commenting on
                                                  revised draft Notice of Appeal.
Dec 8, 2014      E.F.B. Lamek                1.20 Working on arguments for Ad Hoc Appeal Factum
                                                  regarding No Plan Distribution point; emails with
                                                  Bennett Jones and Seigel.
Dec 10, 2014     E.F.B. Lamek                1.30 Reviewing Newbould UKPC claim decision emails with
                                                  Marshall and Lowenthal regarding same.
Dec 18, 2014     E.F.B. Lamek                1.50 Reviewing Judge Gross' PFI Settlement reasons and
                                                  emails with Lowenthal regarding same.


                          TO OUR FEES                                                                  $ 9,024.00




DISBURSEMENTS:


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               Conference Calls                                                    $17.04
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Total Non-Taxable Disbursements                                                      40.74


Total Disbursements                                                                                           40.74


Total Fees and Disbursements                                                                              9,064.74


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                             GST/HST REGISTRATION # R869096974RT0001
           Case 09-10138-MFW             Doc 17958-9         Filed 02/24/17        Page 45 of 102




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Re: Nortel Networks Capital Corporation 7.875% 2026 Bonds                                             Page 3


TOTAL THIS INVOICE                                                                   CAD              $ 9,064.74

If Paid in US Dollars                                                                USD              $ 7,972.51




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                            GST/HST REGISTRATION # R869096974RT0001
           Case 09-10138-MFW             Doc 17958-9        Filed 02/24/17        Page 46 of 102




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Law Debenture Trust Company of New York
400 Madison Avenue
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USA                                                                                      Invoice # 697177890
                                                                                                 EFBL/EFBL


Re: Nortel Networks Capital Corporation 7.875% 2026 Bonds                             File No: 030185/000001

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Fees                                                                                                  $ 9,024.00
Disbursements                                                                                              40.74

Total this Invoice                                                                   CAD              $ 9,064.74

If Paid in US Dollars                                                                USD              $ 7,972.51

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                            GST/HST REGISTRATION # R869096974RT0001
         Case 09-10138-MFW             Doc 17958-9         Filed 02/24/17        Page 47 of 102




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                                    Swift Code: NOSCCATT
                         General Canadian Fund Account#: 80002 14221 11
                              U.S. Fund Account #: 80002 51181 15
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          Case 09-10138-MFW             Doc 17958-9         Filed 02/24/17        Page 48 of 102




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Law Debenture Trust Company of New York
400 Madison Avenue
New York, NY 10017                                                                           February 23, 2015
USA
                                                                                          Invoice # 697193344
Attention: Mr. James D. Heaney                                                                          Page 1
           Managing Director


Re: Nortel Networks Capital Corporation 7.875% 2026 Bonds                            File No: 030185/000001

PROFESSIONAL SERVICES rendered to January 31, 2015 in connection with the above matter as
described in the attached.

Fees                                                                                                   $ 4,793.00
Disbursements                                                                                               69.20

Total this Invoice                                                                   CAD               $ 4,862.20

If Paid in US Dollars                                                                 USD              $ 3,954.94


                                                   THIS IS OUR ACCOUNT - E. & O.E.

                                                   BORDEN LADNER GERVAIS LLP



                                                   By:
                                                         Edmond F.B. Lamek




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                            GSTIHST REGISTRATION # R869096974RT0001
          Case 09-10138-MFW              Doc 17958-9         Filed 02/24/17        Page 49 of 102




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                                                                                             February 23, 2015
                                                                                          Invoice # 697193344
Law Debenture Trust Company of New York                                               File No: 030185/000001
Re: Nortel Networks Capital Corporation 7.875% 2026 Bonds                                               Page 2

PROFESSIONAL SERVICES RENDERED to January 31, 2015

Jan 5, 2015      E.F.B. Lamek                 1.60 Reviewing draft Appeal Factum of Ad Hoc
                                                    Bondholders' Group.
Jan 6, 2015      E.F.B. Lamek                 1.60 Emails with Bennett Jones regarding LawDeb debenture
                                                    terms and related matters for Appeal factum.
Jan 8, 2015      A. Hodhod                    0.20 Responded to email re timing of delivery of factum.
Jan 16, 2015     A. Hodhod                    0.20 Responded to question re timing of submission of
                                                    materials.
Jan 16, 2015     E.F.B. Lamek                 1.00 Conf Call regarding Joint Responding Factum; follow
                                                    up calls with Lowenthal, Seigel and Harrison; emails to
                                                    Bennett Jones.
Jan 21, 2015     E.F.B. Lamek                 0.70 Conference call with Gavin Finlayson and Brett
                                                    Harrison re contents of Indenture Trustees' factum.


                           TO OUR FEES                                                                  $ 4,793.00




DISBURSEMENTS:


Non-Taxable
               Binding Charges                                                       $8.00
               Copies                                                                61.20

Total Non-Taxable Disbursements                                                      69.20


Total Disbursements                                                                                             69.20


Total Fees and Disbursements                                                                               4,862.20



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               INTEREST AT THE RATE OF 1.3% PER ANNUM MAY BE CHARGED ON ACCOUNTS WHICH ARE OVERDUE
                             GST/HST REGISTRATION # R869096974RT0001
          Case 09-10138-MFW             Doc 17958-9         Filed 02/24/17        Page 50 of 102




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                                                                                         Invoice # 697193344
Law Debenture Trust Company of New York                                              File No: 030185/000001
Re: Nortel Networks Capital Corporation 7.875% 2026 Bonds                                              Page 3


TOTAL THIS INVOICE                                                                    CAD              $ 4,862.20

If Paid in US Dollars                                                                 USD              $ 3,954.94




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                            GST/HST REGISTRATION # R869096974RT0001
          Case 09-10138-MFW             Doc 17958-9         Filed 02/24/17        Page 51 of 102




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Law Debenture Trust Company of New York
400 Madison Avenue
New York, NY 10017                                                                          February 23, 2015
USA                                                                                      Invoice # 697193344
                                                                                                 EFBL/EFBL


Re: Norte] Networks Capital Corporation 7.875% 2026 Bonds                             File No: 030185/000001

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Fees                                                                                                  $ 4,793.00
Disbursements                                                                                              69.20

Total this Invoice                                                                   CAD              $ 4,862.20

If Paid in US Dollars                                                                USD              $ 3,954.94

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                            GST/HST REGISTRATION # R869096974RT0001
         Case 09-10138-MFW             Doc 17958-9         Filed 02/24/17        Page 52 of 102




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                                    Swift Code: NOSCCATT
                         General Canadian Fund Account#: 80002 14221 11
                              U.S. Fund Account #: 80002 51181 15
                                     ABA number 026002532

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          Case 09-10138-MFW             Doc 17958-9         Filed 02/24/17        Page 53 of 102




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Law Debenture Trust Company of New York
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USA
                                                                                          Invoice # 697202643
Attention: Mr. James D. Heaney                                                                          Page 1
           Managing Director


Re: Nortel Networks Capital Corporation 7.875% 2026 Bonds                            File No: 030185/000001

PROFESSIONAL SERVICES rendered to February 28, 2015 in connection with the above matter as
described in the attached.

Fees                                                                                                 $ 24,450.00
Disbursements                                                                                              94.80

Total this Invoice                                                                   CAD            $ 24,544.80

If Paid in US Dollars                                                                 USD            $ 20,168.28


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                                                   By:
                                                         Edmond F.B. Lamek




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                            GST/HST REGISTRATION # R869096974RT0001
         Case 09-10138-MFW              Doc 17958-9         Filed 02/24/17        Page 54 of 102




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                                                                                             March 26, 2015
                                                                                        Invoice # 697202643
Law Debenture Trust Company of New York                                             File No: 030185/000001
Re: Nortel Networks Capital Corporation 7.875% 2026 Bonds                                             Page 2

PROFESSIONAL SERVICES RENDERED to February 28, 2015

Dec 15, 2014 J.D. Marshall                  1.00 Review case law for appeal argument on appeal from
                                                  Newbould J. order.
Dec 16, 2014 J.D. Marshall                  1.00 Consider draft facta and revisions thereto re: appeal of
                                                  Newbould J. Decision on "interest stops" rule.
Feb 4, 2015     E.V.B. Lamek                2.00 Working on Responding Factum Arguments and
                                                  possible approaches; emails with McMillan and BJ.
Feb 10, 2015 E.F.B. Lamek                   2.60 Working on factum, email exchanges with Finlayson
                                                  and Harrison re possible factum arguments.
Feb 11, 2015 E.F.B. Lamek                   3.60 Working on Reply Factum on PFI Appeal.
Feb 22, 2015 E.F.B. Lamek                   2.00 Researching cases following Sammi Atlas decision and
                                                  treatments of creditors in CCAA plans that have been
                                                  approved; calls and email exchanges with Finlayson.
Feb 23, 2015 E.F.B. Lamek                   3.80 Working on Responding Factum and related research.
Feb 24, 2015 E.F.B. Lamek                   2.80 Working on PFI appeal responding factum and emails
                                                  with Harrison and Finlayson.
Feb 25, 2015 E.F.B. Lamek                   5.70 Working most of day on next version of Responding PFI
                                                  Factum, numerous emails with Finlayson and Harrison.
Feb 27, 2015 E.F.B. Lamek                   1.50 Working on revisions to BH revisions to Factum.


                          TO OUR FEES                                                                $ 24,450.00




DISBURSEMENTS:


Non-Taxable
              Copies                                                               $94.80

Total Non-Taxable Disbursements                                                     94.80


Total Disbursements                                                                                            94.80

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                            GST/HST REGISTRATION # R869096974RT0001
          Case 09-10138-MFW             Doc 17958-9         Filed 02/24/17       Page 55 of 102




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                                                                                        Invoice # 697202643
Law Debenture Trust Company of New York                                             File No: 030185/000001
Re: Nortel Networks Capital Corporation 7.875% 2026 Bonds                                             Page 3



Total Fees and Disbursements                                                                            24,544.80


TOTAL THIS INVOICE                                                                   CAD             $ 24,544.80

If Paid in US Dollars                                                                USD             $ 20,168.28




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          Case 09-10138-MFW             Doc 17958-9         Filed 02/24/17       Page 56 of 102




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Law Debenture Trust Company of New York
400 Madison Avenue
New York, NY 10017                                                                            March 26, 2015
USA                                                                                      Invoice # 697202643
                                                                                                 EFBUEFBL


Re: Nortel Networks Capital Corporation 7.875% 2026 Bonds                             File No: 030185/000001

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Fees                                                                                                 $ 24,450.00
Disbursements                                                                                              94.80

Total this Invoice                                                                   CAD            $ 24,544.80

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                            GST/HST REGISTRATION # R869096974RT0001
         Case 09-10138-MFW              Doc 17958-9         Filed 02/24/17       Page 57 of 102




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Law Debenture Trust Company of New York
400 Madison Avenue
New York, NY 10017                                                                               April 27, 2015
USA
                                                                                         Invoice # 697212648
Attention: Mr. James D. Heaney                                                                         Page 1
           Managing Director


Re: Nortel Networks Capital Corporation 7.875% 2026 Bonds                           File No: 030185/000001

PROFESSIONAL SERVICES rendered to March 31, 2015 in connection with the above matter as
described in the attached.

Fees                                                                                                $ 24,828.50
Disbursements                                                                                          1,149.02

Total this Invoice                                                                   CAD            $ 25,977.52

If Paid in US Dollars                                                                USD            $ 21,811.52


                                                  THIS IS OUR ACCOUNT - E. & O.E.

                                                  BORDEN LADNER GERVAIS LLP




                                                          dmond F.B. Lamek




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              INTEREST AT THE RATE OF I.0% PER ANNUM MAY BE CHARGED ON ACCOUNTS WHICH ARE OVERDUE
                             GST/HST REGISTRATION # R869096974RT0001
        Case 09-10138-MFW               Doc 17958-9         Filed 02/24/17       Page 59 of 102




                                                                                           Borden Ladner Gervais LLP

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                                                                                               April 27, 2015
                                                                                         Invoice # 697212648
Law Debenture Trust Company of New York                                              File No: 030185/000001
Re: Nortel Networks Capital Corporation 7.875% 2026 Bonds                                              Page 2

PROFESSIONAL SERVICES RENDERED to March 31, 2015

Mar 2, 2015      E.F.B. Lamek                3.40 Working on Court of Appeal Factum; emails with
                                                  Finlayson and Harrison.
Mar 4, 2015      E.F.B. Lamek                1.50 Emails with BJ regarding Monitor's advice to court that
                                                  CCAA stay extension was on consent and follow up
                                                  discussions and email exchanges with BJ and McMillan;
                                                  email re delivery of Monitor's factum.
Mar 5, 2015      E.F.B. Lamek                5.50 Several calls with Finlayson and Harrison re factum
                                                  revisions; drafting and circulating revised version for
                                                  comment; emails with Lowenthal.
Mar 5, 2015      J.D. Marshall               0.40 Review draft factum.
Mar 6, 2015      J.D. Marshall               0.50 Review Law Debenture draft factum on approval of
                                                  Newbould, J. Order.
Mar 9, 2015      E.F.B. Lamek                7.00 Incorporating final comments from McMillan and BJ;
                                                  emails with Lowenthal and Riela; discussions with
                                                  Arthur Nahas regarding filing requirements; serving
                                                  Factum; revising per court of appeal directions and re
                                                  serving/filing.
Mar 9, 2015      A. Nahas                    1.60 Filed a factum and accompanying materials at the Court
                                                  of Appeal for Edmond Lamek.
Mar 10, 2015     E.F.B. Lamek                2.00 Emails and calls with BJ regarding court of appeal
                                                  decision on striking paragraphs and related issues
                                                  including response from Goodmans.
Mar 23, 2015     E.F.B. Lamek                3.70 Reviewing Responding Factums of Monitor, CCC and
                                                  Wilmington Trust; emails with Bennett Jones and
                                                  McMillan.
Mar 24, 2015     E.F.B. Lamek                0.30 Emails with Bennett Jones re Monitor's Factum
                                                  contents.
Mar 27, 2015     E.F.B. Lamek                1.60 Emails with BJ and McMillan - working on arguments
                                                  for court of appeal.


                           TO OUR FEES                                                                $ 24,828.50




                                                  PAYABLE ON RECEIPT
               INTEREST AT THE RATE OF 1 0% PER ANNUM MAY BE CHARGED ON ACCOUNTS WHICH ARE OVERDUE
                             GST/HST REGISTRATION # R869096974RT0001
         Case 09-10138-MFW              Doc 17958-9         Filed 02/24/17       Page 60 of 102




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                                                                                              April 27, 2015
                                                                                        Invoice # 697212648
Law Debenture Trust Company of New York                                             File No: 030185/000001
Re: Norte! Networks Capital Corporation 7.875% 2026 Bonds                                             Page 3



DISBURSEMENTS:


Non-Taxable
              Binding Charges                                                     $64.20
              Copies                                                            1,072.80
              Quicklaw Searches                                                    12.02

Total Non-Taxable Disbursements                                                 1,149.02


Total Disbursements                                                                                       1,149.02


Total Fees and Disbursements                                                                            25,977.52


TOTAL THIS INVOICE                                                                   CAD             $ 25,977.52

If Paid in US Dollars                                                                 USD            $ 21,811.52




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              INTEREST AT THE RATE OF I.0% PER ANNUM MAY BE CHARGED ON ACCOUNTS WHICH ARE OVERDUE
                            GST/HST REGISTRATION # R869096974RT0001
          Case 09-10138-MFW             Doc 17958-9         Filed 02/24/17        Page 61 of 102




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Law Debenture Trust Company of New York
400 Madison Avenue
New York, NY 10017                                                                             April 27, 2015
USA                                                                                      Invoice # 697212648
                                                                                                 EFBL/EFBL


Re: Nortel Networks Capital Corporation 7.875% 2026 Bonds                             File No: 030185/000001

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Fees                                                                                                 $ 24,828.50
Disbursements                                                                                           1,149.02

Total this Invoice                                                                   CAD             $ 25,977.52

If Paid in US Dollars                                                                 USD            $ 21,811.52

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                            GSTAIST REGISTRATION # R869096974RT0001
         Case 09-10138-MFW             Doc 17958-9         Filed 02/24/17       Page 62 of 102




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Law Debenture Trust Company of New York
400 Madison Avenue
New York, NY 10017                                                                             April 27, 2015
USA                                                                                      Invoice # 697212648
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                          General Canadian Fund Account#: 80002 14221 11
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                           GST/HST REGISTRATION # R869096974RT0001
           Case 09-10138-MFW             Doc 17958-9         Filed 02/24/17        Page 63 of 102




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Law Debenture Trust Company of New York
400 Madison Avenue
New York, NY 10017                                                                                  June 26, 2015
USA
                                                                                          Invoice # 697231479
Attention: Mr. James D. Heaney                                                                          Page 1
           Managing Director


Re: Nortel Networks Capital Corporation 7.875% 2026 Bonds                            File No: 030185/000001

PROFESSIONAL SERVICES rendered to May 31, 2015 in connection with the above matter as described
in the attached.

Fees                                                                                                 $ 53,010.00
Disbursements                                                                                           1,327.80

Total this Invoice                                                                   CAD             $ 54,337.80

If Paid in US Dollars                                                                USD             $ 44,862.78


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                                                        Edmond F.B. Lamek




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                            GST/HST REGISTRATION # R869096974RT0001
         Case 09-10138-MFW               Doc 17958-9         Filed 02/24/17       Page 64 of 102




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                                                                                                June 26, 2015
                                                                                         Invoice # 697231479
Law Debenture Trust Company of New York                                              File No: 030185/000001
Re: Nortel Networks Capital Corporation 7.875% 2026 Bonds                                              Page 2

PROFESSIONAL SERVICES RENDERED to May 31, 2015

Apr 1, 2015     E.F.B. Lamek                 0.70 emails with Goodmans, Bennett Jones, McMillan
                                                    regarding allocation of court time to Law Debenture and
                                                    BNY Mellon.
Apr 6, 2015     E.F.B. Lamek                 2.30 working on Court of Appeal arguments and reviewing
                                                    cases in responding casebooks.
Apr 15, 2015 E.F.B. Lamek                    2.80 Reviewing UK Law on Pari Passu Principle.
Apr 17, 2015 E.F.B. Lamek                    2.70 reviewing UK caselaw on Pari Passu principle in
                                                    restructurings - conference call with BJ and McMillan re
                                                    April 29 appeal.
Apr 22, 2015 E.F.B. Lamek                    2.40 call with Dan Lowenthal re appeal; call with Gavin
                                                    Finlayson re appeal; working on complimentary
                                                    arguments to Ad Hocs' position.
Apr 28, 2015 E.F.B. Lamek                    3.80 call with Bennett Jones re Costs issues and fmal
                                                    positions on certain points; working on arguments to fill
                                                    in Ad Hoc arguments' gaps.
Apr 29, 2015 E.F.B. Lamek                    9.50 final argument prep for, and attend Post Filing Interest
                                                    Appeal
May 12, 2015 E.F.B. Lamek                    1.00 initial skim of Newbould and Gross Allocation
                                                    decisions; emails with Lowenthal.
May 13, 2015 E.F.B. Lamek                    4.50 in depth review of Newbould and Gross Allocation
                                                    decisions; reviewing Mclnness on the Law of
                                                    Guarantees; emails with Lowenthal.
May 14, 2015 E.F.B. Lamek                    1.80 reviewing Capstone financial model and various emails
                                                    with Lowenthal.
May 15, 2015 E.F.B. Lamek                    0.50 emails with Lowenthal regarding Appeal timing and
                                                    related matters.
May 19, 2015 E.F.B. Lamek                    0.40 emails with Lowenthal regarding timing of leave to
                                                    appeal motion.
May 20, 2015 E.F.B. Lamek                    1.40 working on Guarantee claim issue; call with Dan
                                                    Lowenthal regarding latest activity in US Case;
                                                    reviewing draft of US Debtor's reconsideration Motion.
May 21, 2015 E.F.B. Lamek                    2.60 researching cases relating to the law of Guarantees a in
                                                    insolvency and line of cases leading to O&Y.
May 22, 2015 E.F.B. Lamek                    0.40 call with Gavin Finlayson of BJ regarding Ad Hocs
                                                    views of appeal and reconsideration.

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                            GST/HST REGISTRATION # R869096974RT0001
         Case 09-10138-MFW              Doc 17958-9         Filed 02/24/17        Page 65 of 102




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                                                                                               June 26, 2015
                                                                                         Invoice # 697231479
Law Debenture Trust Company of New York                                              File No: 030185/000001
Re: Nortel Networks Capital Corporation 7.875% 2026 Bonds                                              Page 3

May 25, 2015 E.F.B. Lamek                    4.70 reviewing latest Capstone analysis and begin drafting
                                                   Notice of Motion for Leave to Appeal guarantee proof
                                                    point.; discussing guarantee cases with Ted Flett;
                                                    reviewing same
May 26, 2015 E.F.B. Lamek                    6.20 calls all day on appeal issues and reconsideration issues;
                                                    drafting reconsideration motion and reviewing
                                                    applicable case law to support request for
                                                    reconsideration; emails with Lowenthal, etc.
May 27, 2015 E.F.B. Lamek                    5.80 working all day on leave motion, reconsideration
                                                    motion, calls with Torys' Bennett, Lowenthal.
May 29, 2015 E.F.B. Lamek                    2.30 Attend 9am hearing of US Debtors motion requisition
                                                    extension of time for leave to appeal application; follow
                                                    up email exchanges with Lowenthal and Tecce


                          TO OUR FEES                                                                $ 53,010.00




DISBURSEMENTS:


Non-Taxable
              Binding Charges                                                      $28.20
              Copies                                                             1,299.60

Total Non-Taxable Disbursements                                                  1,327.80


Total Disbursements                                                                                        1,327.80


Total Fees and Disbursements                                                                             54,337.80




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                            GST/HST REGISTRATION # R869096974RT0001
          Case 09-10138-MFW             Doc 17958-9         Filed 02/24/17       Page 66 of 102




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                                                                                               June 26, 2015
                                                                                        Invoice # 697231479
Law Debenture Trust Company of New York                                             File No: 030185/000001
Re: Nortel Networks Capital Corporation 7.875% 2026 Bonds                                             Page 4


TOTAL THIS INVOICE                                                                   CAD            $ 54,337.80

If Paid in US Dollars                                                                USD            $ 44,862.78




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                           GST/HST REGISTRATION # R869096974RT0001
          Case 09-10138-MFW             Doc 17958-9         Filed 02/24/17       Page 67 of 102




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Law Debenture Trust Company of New York
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USA                                                                                      Invoice # 697231479
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Re:Nortel Networks Capital Corporation 7.875% 2026 Bonds                              File No: 030185/000001

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Fees                                                                                                 $ 53,010.00
Disbursements                                                                                           1,327.80

Total this Invoice                                                                   CAD            $ 54,337.80

If Paid in US Dollars                                                                USD             $ 44,862.78

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         Case 09-10138-MFW             Doc 17958-9         Filed 02/24/17        Page 68 of 102




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                         General Canadian Fund Account#: 80002 14221 11
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         Case 09-10138-MFW             Doc 17958-9          Filed 02/24/17        Page 69 of 102




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Law Debenture Trust Company of New York
400 Madison Avenue
New York, NY 10017                                                                              August 21, 2015
USA
                                                                                          Invoice # 697248528
Attention: Mr. James D. Heaney                                                                          Page 1
           Managing Director


Re: Nortel Networks Capital Corporation 7.875% 2026 Bonds                            File No: 030185/000001

PROFESSIONAL SERVICES rendered to July 31, 2015 in connection with the above matter as described
in the attached.

Fees                                                                                                 $ 45,955.00
Disbursements                                                                                             663.00

Total this Invoice                                                                   CAD             $ 46,618.00

If Paid in US Dollars                                                                 USD               36,329.49


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                                                        Edmond F.B. Lamek




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                            GST/HST REGISTRATION # R869096974RT0001
       Case 09-10138-MFW                Doc 17958-9         Filed 02/24/17         Page 70 of 102




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                                                                                              August 21, 2015
                                                                                          Invoice # 697248528
Law Debenture Trust Company of New York                                               File No: 030185/000001
Re: Nortel Networks Capital Corporation 7.875% 2026 Bonds                                               Page 2

PROFESSIONAL SERVICES RENDERED to July 31, 2015

Jun 1, 2015      E.F.B. Lamek                 3,00   Working       on      Notice     of     Motion       for
                                                     Clarification/Reconsideration; emails with Bennett
                                                     Jones re same.
Jun 2,2015       E.F.B. Lamek                 1.80   Call with Dan Lowenthal re Solus; reviewing Nortel
                                                     1997 Financial Statements; conf call with Quinn
                                                     Emannuel and Patterson Belknap; call with Gavin
                                                     Finlayson of Bennett Jones re Canadian proceedings.
Jun 3, 2015      E.F.B. Lamek                 1.70   Various emails and calls with Torys and Bennett Jones
                                                     re reconsideration motion.
Jun 4, 2015      E.F.B. Lamek                 1.70   Calls with Bennett Jones and Torys re motion and
                                                     Newbould directions re timing of delivery of materials,
                                                     emails with Lowenthal re same.
Jun 5, 2015      EF.B. Lamek                  2.70   Working on Notice of Motion, circulating to Lowenthal
                                                     and Quinn Emmanuel.
Jun 8,2015       T. Flett                     1.00   Delivery of motion to 330 University Ave for E. Lamek.
Jun 8,2015       E.F.B. Lamek                 8.50   Working all day on factum on reconsideration motion
                                                     and related court materials, emails with Tecce and
                                                     Lowenthal re same; serving and filing; reviewing US
                                                     Debtors' factum and other materials served today.
Jun 9,2015       L. White                     0.40   Attended at the Commercial Court and paid for a Motion
                                                     Record.
Jun 12, 2015     E.F.B. Lamek                 0.70   Begin review of reconsideration motion responding
                                                     briefs, etc.
Jun 22, 2015     J.L. Francis                 0.40    Filed a Reply Factum at the Commercial List Office.
Jun 22, 2015     E.F.B. Lamek                 1.00   Conf call with Patterson Belknap and Quinn Emmanuel;
                                                     revising draft Factum, email with Heaney; serve Factum
                                                     and file.
Jun 22, 2015     E.F.B. Lamek                 0.60   Drafting Notice of Filing of US Reply Brief, emails with
                                                     Lowenthal.
Jun 23, 2015     E.F.B. Lamek                 1.80   Dealing with service and filing of US court documents
                                                      in Canada and numerous related emails.
Jun 23, 2015     L. White                     0.40    Filed Motion material at the Commercial Court.
Jun 24, 2015     E.F.B. Lamek                 4.50   Calls with Lowenthal and Finlayson; assembling and
                                                      final review of court materials for tomorrow's
                                                      reconsideration motion.

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                              GST/HST REGISTRATION # R869096974RT0001
        Case 09-10138-MFW               Doc 17958-9         Filed 02/24/17         Page 71 of 102




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                                                                                              August 21, 2015
                                                                                          Invoice # 697248528
Law Debenture Trust Company of New York                                               File No: 030185/000001
Re: Nortel Networks Capital Corporation 7.875% 2026 Bonds                                               Page 3

Jun 25, 2015     E.F.B. Lamek                 9.50 Attend all day Cross Border Allocation Opinion
                                                   Reconsideration Motion; follow up emails with
                                                   Lowenthal and others.
Jul 5, 2015      E.F.B. Lamek                 0.50 Reviewing UCC Notice of Appeal, related emails to
                                                   Lowenthal.
Jul 6, 2015      E.F.B. Lamek                 2.00 Reviewing US and Canadian Decisions on
                                                   Reconsideration Motions, various emails with
                                                   Lowenthal regarding impact of separate debtor
                                                   allocation ruling.
Jul 7, 2015      E.F.B. Lamek                 2.40 Calls x2 with Dan Lowenthal re separate allocation
                                                   omission in Gross Opinion, interim distributions,
                                                   appeals, etc; call with James Tecce re next steps in
                                                   Canada and the US; follow up email with Lowenthal.
Jul 9, 2015      E.F.B. Lamek                 0.60 Conference call with Finlayson and Harrison re appeal
                                                   position of the non NNCC Bondholders.
Jul 13, 2015     E.F.B. Lamek                 1.20 Email exchange and call with Dan Lowenthal regarding
                                                   PGBC claim allocation and reconsideration motion
                                                   opinion and related matters.
Jul 20, 2015     E.F.B. Lamek                 1.70 Reviewing multiple US appeal court filings made today.
Jul 23, 2015     E.F.B. Lamek                 1.40 Reviewing draft Lockbox allocation Order proposed by
                                                   Torys. et al for appeal perfection - call with Dan
                                                   Lowenthal re same - reviewing definitions, etc in
                                                   Allocation Protocols to match to/understand language in
                                                   Tory's draft.
Jul 27, 2015     E.F.B. Lamek                 0.60 Reviewing latest appeal materials and updates.


                           TO OUR FEES                                                                $ 45,955.00




DISBURSEMENTS:


Non-Taxable
               Binding Charges                                                      $92.00
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                             GST/HST REGISTRATION # R869096974RT0001
        Case 09-10138-MFW              Doc 17958-9          Filed 02/24/17        Page 72 of 102




                                                                                          Borden Ladner Gervais LLP

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                                                                                            August 21, 2015
                                                                                        Invoice # 697248528
Law Debenture Trust Company of New York                                             File No: 030185/000001
Re: Nortel Networks Capital Corporation 7.875% 2026 Bonds                                             Page 4

              Filing Fees                                                         127.00

Total Non-Taxable Disbursements                                                   663.00


Total Disbursements                                                                                         663.00


Total Fees and Disbursements                                                                            46,618.00


TOTAL THIS INVOICE                                                                   CAD             $ 46,618.00

If Paid in US Dollars                                                                 USD            $ 36,329.49




                                                 PAYABLE ON RECEIPT
              INTEREST AT THE RATE OF 1.0% PER ANNUM MAY BE CHARGED ON ACCOUNTS WHICH ARE OVERDUE
                            GST/HST REGISTRATION # R869096974RT0001
        Case 09-10138-MFW              Doc 17958-9          Filed 02/24/17         Page 73 of 102




                                                                                           Borden Ladner Gervais LLP

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Law Debenture Trust Company of New York
400 Madison Avenue
New York, NY 10017                                                                             August 21, 2015
USA                                                                                        Invoice # 697248528
                                                                                                   EFBL/EFBL


Re: Norte! Networks Capital Corporation 7.875% 2026 Bonds                              File No: 030185/000001

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Fees                                                                                                  $ 45,955.00
Disbursements                                                                                              663.00

Total this Invoice                                                                    CAD            $ 46,618.00

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                             GST/HST REGISTRATION # R869096974RT0001
       Case 09-10138-MFW              Doc 17958-9          Filed 02/24/17        Page 74 of 102




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                           GST/HST REGISTRATION # R869096974RT0001
          Case 09-10138-MFW              Doc 17958-9          Filed 02/24/17         Page 75 of 102




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Law Debenture Trust Company of New York
400 Madison Avenue
New York, NY 10017                                                                           December 31, 2015
USA
                                                                                           Invoice # 697300016
Attention: Mr. James D. Heaney                                                                           Page 1
           Managing Director


Re: Nortel Networks Capital Corporation 7.875% 2026 Bonds                             File No: 030185/000001

PROFESSIONAL SERVICES rendered to December 31, 2015 in connection with the above matter as
described in the attached.

Fees                                                                                                   $ 7,410.00
Disbursements                                                                                              120.00

Total this Invoice                                                                    CAD              $ 7,530.00

If Paid in US Dollars                                                                 USD              $ 5,524.58


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                                                   BORDEN LADNER GERVAIS LLP



                                                   By:
                                                         Edmond F.B. Lamek




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                            GST/IIST REGISTRATION # R869096974RT0001
         Case 09-10138-MFW                Doc 17958-9         Filed 02/24/17         Page 76 of 102




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                                                                                           December 31, 2015
                                                                                         Invoice # 697300016
Law Debenture Trust Company of New York                                              File No: 030185/000001
Re: Norte] Networks Capital Corporation 7.875% 2026 Bonds                                              Page 2

PROFESSIONAL SERVICES RENDERED to December 31, 2015

Aug 5, 2015      E.F.B. Lamek                0.70 reviewing latest correspondence among parties relating
                                                    to form of order and issues of disagreement among the
                                                    parties.
Aug 10, 2015 E.F.B. Lamek                    0.70 reviewing latest correspondence regarding Newbould
                                                    Judgment wording disputes between Goodmans and US
                                                    Side parties; email with Lowenthal.
Aug 24, 2015 ERB. Lamek                      0.50 reviewing factums and supplemental factums of
                                                    appellants on motions for leave to appeal Newbould
                                                    Allocation Judgment.
Aug 28, 2015 E.F.B. Lamek                    0.50 reviewing EMEA Debtors' claims process orders and
                                                    related court reasons from UK Court.
Sep 30, 2015     E.F.B. Lamek                0.40 update call with Dan Lowenthal of Patterson Belknap.
Oct 13, 2015     E.F.B. Lamek                2.50 reviewing court of appeal decision on interest stops and
                                                    discussing it with Shayne Kululowicz of Cassels Brock;
                                                    emails with Lowenthal and Heaney.
Oct 16, 2015     E.F.B. Lamek                2.00 reviewing various parties' shared mediation statements
                                                    and related correspondence.
Dec 9, 2015      E.F.B. Lamek                0.50 Emails with Dan Lowenthal regarding mediation in
                                                    NYC and related matters.


                           TO OUR FEES                                                                  $ 7,410.00




DISBURSEMENTS:


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Total Non-Taxable Disbursements                                                    120.00


Total Disbursements                                                                                          120.00
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                             CST/HST REGISTRATION # R869096974RT0001
         Case 09-10138-MFW               Doc 17958-9          Filed 02/24/17         Page 77 of 102




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                                                                                            December 31, 2015
                                                                                          Invoice # 697300016
Law Debenture Trust Company of New York                                               File No: 030185/000001
Re: Norte! Networks Capital Corporation 7.875% 2026 Bonds                                               Page 3




Total Fees and Disbursements                                                                              7,530.00


TOTAL THIS INVOICE                                                                    CAD              $ 7,530.00

If Paid in US Dollars                                                                 USD              S 5,524.58




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                             GST/HST REGISTRATION # R869096974RT0001
          Case 09-10138-MFW              Doc 17958-9          Filed 02/24/17        Page 78 of 102




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Law Debenture Trust Company of New York
400 Madison Avenue
New York, NY 10017                                                                          December 31, 2015
USA                                                                                       Invoice # 697300016
                                                                                                  EFBL/EFBL


Re:Nortel Networks Capital Corporation 7.875% 2026 Bonds                              File No: 030185/000001

                                         REMITTANCE COPY

Fees                                                                                                   $ 7,410.00
Disbursements                                                                                              120.00

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         Case 09-10138-MFW             Doc 17958-9          Filed 02/24/17         Page 79 of 102




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         Case 09-10138-MFW              Doc 17958-9          Filed 02/24/17        Page 80 of 102




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Law Debenture Trust Company of New York
400 Madison Avenue
New York, NY 10017                                                                                  July 18, 2016
USA
                                                                                          Invoice # 697360673
Attention: Mr. James D. Heaney                                                                          Page 1
           Managing Director


Re: Nortel Networks Capital Corporation 7.875% 2026 Bonds                            File No: 030185/000001

PROFESSIONAL SERVICES rendered to June 30, 2016 in connection with the above matter as described
in the attached.

Fees                                                                                                   $ 4,365.00
Disbursements                                                                                              102.90

Total this Invoice                                                                   CAD              $ 4,467.90

If Paid in US Dollars                                                                 USD              $ 3,511.12


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                                                   By:
                                                         Edmond F.B. Lamek




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                            GST/HST REGISTRATION # R869096974RT0001
         Case 09-10138-MFW               Doc 17958-9          Filed 02/24/17        Page 81 of 102




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                                                                                                 July 18, 2016
                                                                                          Invoice # 697360673
Law Debenture Trust Company of New York                                               File No: 030185/000001
Re: Nortel Networks Capital Corporation 7.875% 2026 Bonds                                               Page 2

PROFESSIONAL SERVICES RENDERED to June 30, 2016

Jan 8, 2016     E.F.B. Lamek                 0.40 Update Call with Dan Lowenthal.
Feb 8, 2016     E.F.B. Lamek                 2.00 Reviewing various parties responding records opposing
                                                  Ad Hoc Bondholders' application for Leave to SCC.
Feb 12, 2016     E.F.B. Lamek                1.20 Reviewing US Appeal opposition briefs being served
                                                  today.
Feb 17, 2016     E.F.B. Lamek                0.50 Reviewing AD Hoc Bondholders' SCC leave application
                                                  reply memorandum and related communications, etc.
Mar 11, 2016     E.F.B. Lamek                0.40 Reviewing various parties' appeal reply briefs.


                           TO OUR FEES                                                                  $ 4,365.00




DISBURSEMENTS:


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               Copies                                                             $102.90

Total Non-Taxable Disbursements                                                    102.90


Total Disbursements                                                                                           102.90


Total Fees and Disbursements                                                                               4,467.90


TOTAL THIS INVOICE                                                                     CAD              S 4,467.90

If Paid in US Dollars                                                                  USD              $ 3,511.12



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                             GST/HST REGISTRATION # R869096974RT0001
         Case 09-10138-MFW              Doc 17958-9          Filed 02/24/17        Page 82 of 102




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Law Debenture Trust Company of New York
400 Madison Avenue
New York, NY 10017                                                                               July 18, 2016
USA                                                                                       Invoice # 697360673
                                                                                                  EFBUEFBL



Re: Nortel Networks Capital Corporation 7.875% 2026 Bonds                             File No: 030185/000001

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Fees                                                                                                   $ 4,365.00
Disbursements                                                                                              102.90

Total this Invoice                                                                   CAD              $ 4,467.90

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        Case 09-10138-MFW              Doc 17958-9          Filed 02/24/17        Page 83 of 102




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400 Madison Avenue
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USA                                                                                      Invoice # 697360673
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                          General Canadian Fund Account#: 80002 14221 11
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Law Debenture Trust Company of New York
400 Madison Avenue
New York, NY 10017                                                                              August 12, 2016
USA
                                                                                           Invoice # 697368695
Attention: Mr. James D. Heaney                                                                           Page 1
           Managing Director


Re: Nortel Networks Capital Corporation 7.875% 2026 Bonds                             File No: 030185/000001

PROFESSIONAL SERVICES rendered to July 31, 2016 in connection with the above matter as described
in the attached.

Fees                                                                                                   $ 1,164.00
Disbursements                                                                                                0.00

Total this Invoice                                                                    CAD              $ 1,164.00

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                                                         Edmond F.B. Lamek




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          Case 09-10138-MFW               Doc 17958-9          Filed 02/24/17         Page 85 of 102




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                                                                                              August 12, 2016
                                                                                          Invoice # 697368695
Law Debenture Trust Company of New York                                               File No: 030185/000001
Re: Nortel Networks Capital Corporation 7.875% 2026 Bonds                                               Page 2

PROFESSIONAL SERVICES RENDERED to July 31, 2016

Jul 5, 2016     E.F.B. Lamek                 1.20 Conference call with lawyers for main NNCC
                                                  bondholder; follow up discussion with Dan Lowenthal;
                                                  follow up call with Daniel Holtzman.


                          TO OUR FEES                                                                   $ 1,164.00




Total Fees and Disbursements                                                                               1,164.00


TOTAL THIS INVOICE                                                                     CAD              $ 1,164.00

If Paid in US Dollars                                                                  USD                $ 918.27




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          Case 09-10138-MFW              Doc 17958-9         Filed 02/24/17         Page 86 of 102




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Re: Norte! Networks Capital Corporation 7.875% 2026 Bonds                              File No: 030185/000001

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Fees                                                                                                   $ 1,164.00
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        Case 09-10138-MFW              Doc 17958-9          Filed 02/24/17        Page 87 of 102




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                          GST/HST REGISTRATION # R869096974RT0001
          Case 09-10138-MFW               Doc 17958-9       Filed 02/24/17       Page 88 of 102




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                                                                                             August 12, 2016



Change of Address

This letter is to inform you of our new mailing address. Please be advised that our Toronto office is moving
on October 17, 2016.

Our new address will be:

Bay Adelaide Centre, East Tower
22 Adelaide Street West
Toronto, ON M5H 4E3

Please update your records accordingly.

Thank you for your attention to this matter.


Changement d'adresse

La presente vise a vous informer de notre nouvelle adresse postale. Veuillez prendre note que notre bureau
de Toronto &menage le 17 octobre 2016.

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Bay Adelaide Centre, East Tower
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Veuillez mettre vos registres a jour.

Nous vous remercions de votre attention.
         Case 09-10138-MFW              Doc 17958-9        Filed 02/24/17       Page 89 of 102




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                                                                                          September 7, 2016



Change of Address

This letter is to inform you of our new mailing address. Please be advised that our Toronto office is moving
on October 17, 2016.

Our new address will be:

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22 Adelaide Street West
Toronto, ON M5H 4E3

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Veuillez mettre vos registres a jour.

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        Case 09-10138-MFW               Doc 17958-9         Filed 02/24/17         Page 90 of 102




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Law Debenture Trust Company of New York
400 Madison Avenue
New York, NY 10017                                                                            September 7, 2016
USA
                                                                                          Invoice # 697374704
Attention: Mr. James D. Heaney                                                                          Page 1
           Managing Director


Re: Nortel Networks Capital Corporation 7.875% 2026 Bonds                            File No: 030185/000001

PROFESSIONAL SERVICES rendered to August 31, 2016 in connection with the above matter as
described in the attached.

Fees                                                                                                         $ 0.00
Disbursements                                                                                                  0.00

Total this Invoice                                                                    CAD                    $ 0.00


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                                                   BORDEN LADNER GERVAIS LLP



                                                   By:
                                                         Edmond F.B. Lamek




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                            GST/HST REGISTRATION # R869096974RT0001
        Case 09-10138-MFW              Doc 17958-9         Filed 02/24/17         Page 91 of 102




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                                                                                Lawyers I Patent & Trade-mark Agents
                                                                                           Scotia Plaza, 40 King St W
                                                                                     Toronto, ON, Canada M5H 3Y4
                                                                                    T 416.367.6000 F 416.367.6749
                                                                                                              blg.com

                                                                                          September 7, 2016
                                                                                        Invoice # 697374704
Law Debenture Trust Company of New York                                             File No: 030185/000001
Re: Nortel Networks Capital Corporation 7.875% 2026 Bonds                                             Page 2




Total Disbursements                                                                                            0.00

Total Fees and Disbursements                                                                                   0.00


TOTAL THIS INVOICE                                                                   CAD                    $ 0.00




                                                PAYABLE ON RECEIPT
             INTEREST AT THE RATE OF 0.8% PER ANNUM MAY BE CHARGED ON ACCOUNTS WHICH ARE OVERDUE
                           GST/HST REGISTRATION # R869096974RT0001
         Case 09-10138-MFW              Doc 17958-9          Filed 02/24/17        Page 92 of 102




   B l_G
Borden Ladner Gervais
                                                                                           Borden Ladner Gervais LLP
                                                                                 Lawyers I Patent & Trade-mark Agents
                                                                                            Scotia Plaza, 40 King St W
                                                                                      Toronto, ON, Canada M5H 3Y4
                                                                                     T 416.367.6000 F 416.367.6749
                                                                                                               blg.com




Law Debenture Trust Company of New York
400 Madison Avenue
New York, NY 10017                                                                          September 7, 2016
USA                                                                                       Invoice # 697374704
                                                                                                  EFBL/EFBL



Re: Nortel Networks Capital Corporation 7.875% 2026 Bonds                            File No: 030185/000001



                                          REMITTANCE COPY

Fees                                                                                                         $ 0.00
Disbursements                                                                                                  0.00

Total this Invoice                                                                    CAD                   $ 0.00

                   PLEASE RETURN THIS COPY WITH YOUR PAYMENT
                MAKE CHEQUES PAYABLE TO BORDEN LADNER GERVAIS LLP




                                                 PAYABLE ON RECEIPT
              INTEREST AT THE RATE OF 0.8% PER ANNUM MAY BE CHARGED ON ACCOUNTS WHICH ARE OVERDUE
                            GST/HST REGISTRATION # R869096974RT0001
       Case 09-10138-MFW               Doc 17958-9         Filed 02/24/17         Page 93 of 102




                                                                                          Borden Ladner Gervais LLP

   BLG
Borden Ladner Gervais
                                                                                Lawyers I Patent & Trade-mark Agents
                                                                                           Scotia Plaza, 40 King St W
                                                                                     Toronto, ON, Canada M5H 3Y4
                                                                                    T 416.367.6000 F 416.367.6749
                                                                                                              blg.com




Law Debenture Trust Company of New York
400 Madison Avenue
New York, NY 10017                                                                         September 7, 2016
USA                                                                                      Invoice # 697374704
                                                                                                 EFBL/EFBL


 Alternatively, payment may be wired or electronic fund transferred (EFT) to:The Bank of Nova Scotia
                                  Toronto Business Support Centre
                                   20 Queen Street West, 4th Floor
                                          Toronto, Ontario
                                              M5H 3R3

                                            Bank #: 002
                                       Bank Transit #: 47696
                                     Swift Code: NOSCCATT
                          General Canadian Fund Account#: 80002 14221 11
                               U.S. Fund Account #: 80002 51181 15
                                      ABA number 026002532

                                   Please email payment details to:
                                       ReceintsTORAble.com
                        Contact: Accounts Receivable Toronto (416) 367-6703
                        Please include our invoice number(s) with all payments




                                                PAYABLE ON RECEIPT
             INTEREST AT THE RATE OF 0 8% PER ANNUM MAY BE CHARGED ON ACCOUNTS WHICH ARE OVERDUE
                           GST/HST REGISTRATION # R869096974RT0001
            Case 09-10138-MFW                 Doc 17958-9             Filed 02/24/17           Page 94 of 102


Fasken Martineau DuMoulin LLP                                                                     FASKEN
Barristers and Solicitors
Patent and Trade-mark Agents                                                                   MARTINEAU kvir
333 Bay Street, Suite 2400
Bay Adelaide Centre, Box 20
Toronto, ON M5H 2T6

416 366 8381 Telephone
416 364 7813 Facsimile                                                                          Date: September 7, 2012
                                                                                                 Matter #: 291255.00001
                                                                                                       Invoice #: 670520


Law Debenture Trust Company of New York
400 Madison Avenue
New York NY 10017
United States of America

Attention: James Heaney

For Professional Services rendered through 08/31/2012 in connection with this matter:

Re:      Nortel Networks Capital Corporation 7.875% 2026 Bonds




Total Fees                                                                                                      $ 13,298.00

Total Disbursements                                                                                                    38.82

Total Amount Owing This Bill                                                                             USD $ 13,336.82



Fasken Martineau DuMoulin LLP



Per: Edmond F.B. Lamek
E. & 0. E.




Terms: payment due upon receipt. Pursuant to the Solicitors Act, interest will be charged at the rate of 1.3% per annum on unpaid
fees, charges or disbursements calculated from a date that is one month after this statement is delivered. Any disbursement not
posted to your account on the date of this statement will be billed later.
Vancouver       Calgary       Toronto       Ottawa       Montreal       Quebec City        London       Paris      Johannesburg
           Case 09-10138-MFW          Doc 17958-9         Filed 02/24/17        Page 95 of 102


                                                                                    FASKEN dr`
                                                                                 MARTINEAU
Page 2                                                                           Matter #: 291255.00001
                                                                                      Invoice #: 670520
Re:   Nortel Networks Capital Corporation 7.875% 2026 Bonds




04/23/12     Prepare for and Attendance at meeting with Law Debenture and Dewey& Leboeuf
             re Nortel;
             Aubrey Kauffman                                                          $ 1,925.00

04/23/12     Nortel mediation background discussion with Lawrence Miller; Mohsin Khambati
             and James Heaney at our offices.
             Edmond F.B. Lamek                                                                $ 790.00

04/24/12     Attending Nortel mediation intro meetings at Metropolitan Hotel.
             Edmond F.B. Lamek                                                              $ 2,370.00

05/01/12     Email exchanges with Mohsin Khambati regarding filing amended proofs of claim in
             Nortel CCAA and Ch 11 proceedings.
             Edmond F.B. Lamek                                                              $ 553.00

05/01/12     Negotiating language for assignment agreement with Marc Mercier.
             Edmond F.B. Lamek                                                                $ 395.00

05/30/12     Call and emails with Dan Lowenthal regarding Nortel Mediation and amending
             proof of claim.
             Edmond F.B. Lamek                                                                $ 790.00

05/31/12     Email exchange with Dan Lowenthal.
             Edmond F.B. Lamek                                                                $ 237.00

06/01/12     Instructions from E. Lamek; reviewed background materials; began researching
             interest stops rule;
             Conor O'Neill                                                                $ 2,016.00

06/01/12     Discussion with Conor O'Neil regarding research on post liquidation interest and no
             call damages.
             Edmond F.B. Lamek                                                                 $ 316.00

06/20/12     Case law research;
             Conor O'Neill                                                                    $ 420.00

06/21/12     Case law research;
             Conor O'Neill                                                                    $ 252.00

07/03/12     Researched case law re interest stop rule and pre-payment premiums; drafting of
             notes re same;
             Conor O'Neill                                                                 $ 1,050.00

07/04/12     Research and notes on post-filing interest claims under the CCAA;
           Case 09-10138-MFW          Doc 17958-9          Filed 02/24/17      Page 96 of 102


                                                                                   FASKEN
                                                                                MARTINEAU kV'
Page 3                                                                         Matter #: 291255.00001
                                                                                    Invoice #: 670520
Re:   Norte! Networks Capital Corporation 7.875% 2026 Bonds


             Conor O'Neill                                                                  $ 924.00

07/05/12     Case law research on prepayment premiums and no-call provisions;
             Conor O'Neill                                                                  $ 840.00

07/06/12     Finalized notes re interest stops rule and prepayment premiums;
             Conor O'Neill                                                                  $ 420.00


                                        Professional Summary

                Professional                 Rate               Hours              Fees

                Edmond F.B. Lamek                790.00         6.90          5,451.00
                Aubrey Kauffman                  770.00         2.50          1,925.00
                Conor O'Neill                    420.00        14.10          5,922.00
                                                   Total       23.50     USD 13,298.00
         Case 09-10138-MFW          Doc 17958-9   Filed 02/24/17     Page 97 of 102


                                                                          FASKEN
                                                                       MARTINEAU
Page 4                                                                Matter #: 291255.00001
                                                                           Invoice #: 670520
Re:   Nortel Networks Capital Corporation 7.875% 2026 Bonds




              Our Fees                                             $ 13,298.00

              Total Fees                                                         $ 13,298.00

              Disbursements
              Non-Taxable
              Printing/Copies                                           38.82

              Total Disbursements                                       38.82


              Total Disbursements                                                    $ 38.82


              Total Fees & Disbursements                                    USD $ 13,336.82
            Case 09-10138-MFW             Doc 17958-9           Filed 02/24/17          Page 98 of 102


Fasken Martineau DuMoulin LLP                                                              FASKEN 1%
Barristers and Solicitors
Patent and Trade-mark Agents                                                            MARTINEAU N....V
333 Bay Street, Suite 2400
Bay Adelaide Centre, Box 20
Toronto, ON M5H 2T6

416 366 8381 Telephone
416 364 7813 Facsimile                                                                   Date: September 7, 2012
                                                                                          Matter #: 291255.00001
                                                                                                Invoice #: 670520



Law Debenture Trust Company of New York
400 Madison Avenue
New York NY 10017
United States of America
                                       REMITTANCE COPY
                                       Please return with your payment




For Professional Services rendered through 08/31/2012 in connection with this matter:

Re:     Nortel Networks Capital Corporation 7.875% 2026 Bonds




Total Fees                                                                                               $ 13,298.00

Total Disbursements                                                                                           38.82

Total Amount Owing This Bill                                                                     USD $ 13,336.82




                        SCOTIABANK, 20 Queen Street West, 4th Floor, Toronto, Ontario, M5H 3R3
                                  Account Name: Fasken Martineau DuMoulin LLP
                                USD$ Account No: 476960664111, Transit No. 47696
                                  SWIFT code: NOSCCATT, ABA No. 026002532
Vancouver     Calgary     Toronto      Ottawa       Montreal      Quebec City       London       Paris     Johannesburg
                     Case 09-10138-MFW                  Doc 17958-9           Filed 02/24/17              Page 99 of 102


INVOICE                                                                                                      WeirFouldsi"
                                                                                                              T: 416-365-1110 F: 416-365-1876
     4100 - 66 Wellington Street West, PO Box 35, Toronto-Dominion Centre, Toronto, ON, Canada. M5K 1B7
                                                                                                                    www.weirfoulds.com



                                                                                                                 November 15, 2016
                                                                                                                 Invoice 260564
                                                                                                                 Page 1

 Law Debenture Trust Company of New York
 Attention: James D. Heaney
 400 Madison Avenue, 4th Floor
 New York, NY 10017

 Our Matter # 17900.00001 Nortel Networks Capital Corporation, Nortel Networks Limited, Nortel Networks, Inc., et
 al.



 For Professional Services through October 31, 2016

                      FEES                                                                                      $4,260.00


                      DISBURSEMENTS (Taxable)                                                                       $35.10


                      DISBURSEMENTS (Non Taxable)                                                                    None


                      HST                                                                                         $558.36


                       TOTAL FOR THIS INVOICE                                                                   $4,853.46

                       TOTAL DUE                                                                                $4,853.46
                   Case 09-10138-MFW                  Doc 17958-9           Filed 02/24/17           Page 100 of 102


INVOICE                                                                                                     VVeirFouldsI                'I A)

                                                                                                            T: 416-365-1110 F: 416-365-1876
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                                                                                                               November 15, 2016
                                                                                                               Invoice 260564
                                                                                                               Page 2

  Below is a description of the services rendered through October 31, 2016 with respect to our File No. 17900.00001

  Fee Detail

  Date          Description                                      Name                              Hours           Rate            Fees
  20/09/16      Conducted New York corporate profiles            Ruth DeSousa                        0.40        200.00           80.00
                regarding Law Debenture Trust
                Company of New York, Law Debenture
                Corporate Services and Law Denture
                Holdings Inc.;

  14/10/16      Reviewing Monitor's Motion Record,               Edmond Lamek                        1.80        950.00        1,710.00
                Report and enclosed final form of Plan
                Support and Settlement Agreement;

  17/10/16      Reviewing Monitor's motion record to             Edmond Lamek                        0.30        950.00          285.00
                approve distribution of Sale Proceeds
                escrow and related relief;

  26/10/16      Reviewing draft of CCAA Plan and                 Edmond Lamek                        2.30        950.00        2,185.00
                Chapter 11 Plan in preparation for call
                next week;




  Total Fees for Professional Services                                                                                        $4,260.00
  HST                                                                                                                           $553.80
  Total Fees including HST                                                                                                    $4,813.80




  Disbursements
  Taxable Disbursements
                                       Prints BW                               35.10
  Total Taxable Disbursements                                                                     35.10
  Total Disbursements                                                                                                            $35.10
  HST                                                                                                                              $4.56
  Total Disbursements and HST for this Invoice                                                                                   $39.66
                   Case 09-10138-MFW                 Doc 17958-9            Filed 02/24/17          Page 101 of 102


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                                                                                                            T: 416-365-1110 F: 416-365-1876
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                                                                                                                 November 15, 2016
                                                                                                                 Invoice 260564
                                                                                                                 Page 3


  Totals For This Matter

  Total Fees Including HST                                                                                                    $4,813.80
  Total Disbursements Including HST                                                                                              $39.66
  Total Fees and Disbursements Including HST                                                                                  $4,853.46
  Amount Applied From Trust                                                                                                        $0.00
  Total Due For This Matter                                                                                                   $4,853 46




  Summary
  Name                                                                               Hours               Rate                      Fees
  Edmond Lamek                                                                         4.40             950.00                 4,180.00
  Ruth DeSousa                                                                         0.40             200.00                     80.00
  Total Summary                                                                        4.80                                   $4,260.00
                    Case 09-10138-MFW                 Doc 17958-9            Filed 02/24/17          Page 102 of 102


INVOICE                                                                                                  WeirFouldsi,LP
                                                                                                          T: 416-365-1110 F: 416-365-1876
    4100 - 66 Wellington Street West, PO Box 35, Toronto-Dominion Centre, Toronto, ON, Canada. M5K 187
                                                                                                                www.weirfoulds.com



                                                                                                             November 15, 2016
                                                                                                             Invoice 260564
                                                                                                             Page 4




  THIS IS OUR ACCOUNT HEREIN.
  WeirFoulds LLP
  Per




  Edmond Lamek




  Account Payable upon receipt. In accordance with Section 33 of the Solicitors Act,
  interest will be charged at 3.0% per annum calculated from 30 days after delivery                              GST/HST REG.NO.
  of this account. A receipted account will not be mailed unless requested by you                               R119427177RT0001
